Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 1 of 68 Page ID #:1



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 7
 8                           UNITED STATES DISTRICT COURT
 9               CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
10
     MANAN BHATT, LISA RUH,                    Case No. 16-3171
11   SUNIL AMIN, and TRUSHAR
     PATEL, on behalf of themselves and        CLASS ACTION COMPLAINT
12   all others similarly situated,            FOR:
13                     Plaintiffs,           (1)       Violations of California
14   v.                                                Consumer Legal Remedies Act
                                             (2)       Violations of Unfair Competition
15   MERCEDES-BENZ USA, LLC                            Law
16                                           (3)       Breach of Implied Warranty
     Defendant.                                        Pursuant to Song-Beverly
17                                                     Consumer Warranty Act
                                             (4)       Breach of Express Warranty –
18                                                     Magnuson-Moss Warranty Act
19                                           (5)       Breach of Implied Warranty
                                             (6)       Breach of Implied Warranty –
20                                                     Magnuson-Moss Warranty Act
21                                           (7)       Violations of Georgia Fair
                                                       Business Practices Act
22                                           (8)       Violations of Uniform Deceptive
                                                       Trade Practices Act
23                                           (9)       Breach of Implied Warranty of
24                                                     Merchantability
                                             (10)      Fraud by Concealment
25                                           (11)      Unjust Enrichment
26
27                                             JURY TRIAL DEMANDED
28

     1274226.8                              -1-                   CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 2 of 68 Page ID #:2



 1                                     1.INTRODUCTION
 2                1.     Plaintiffs Manan Bhatt, Lisa Ruh, Sunil Amin, and Trushar Patel
 3   bring this action for themselves and on behalf of all persons in the United States
 4   who purchased or leased certain vehicles equipped with uniform and uniformly
 5   defective HVAC Systems manufactured, distributed, and/or sold by Mercedes-Benz
 6   USA, LLC, and/or its related subsidiaries or affiliates (“Mercedes”), as described
 7   below.
 8                2.     The vehicles at issue in this action include the 2008-2016
 9   Mercedes C-Class, 2013-2016 Mercedes CLA-Class, 2003-2009 Mercedes CLK-
10   Class, 2004-2016 Mercedes CLS-Class, 2003-2016 Mercedes E-Class, 2007-2016
11   Mercedes GL-Class, 2010-2016 Mercedes GLK-Class, 2006-2016 Mercedes M-
12   Class, 2006-2015 Mercedes R-Class, 2006-2016 Mercedes S-Class, 2003-2012
13   Mercedes SL-Class, and 2004-2010 Mercedes SLK-Class (the “Class Vehicles”).
14                3.     This action is brought to remedy violations of law in connection
15   with Mercedes’s design, manufacture, marketing, advertising, selling, warranting,
16   and servicing of the Class Vehicles. These Class Vehicles’ heating, ventilating, and
17   air conditioning systems (“HVAC Systems”) have a serious design defect that
18   causes the HVAC Systems to (a) accumulate mold and mildew residue or growth
19   within the HVAC System; (b) emit a moldy or mildewy odor that permeates the
20   vehicle cabin when the HVAC system is activated; and (c) cause the Vehicle’s
21   passenger cabin to be unbearable and thus unusable for its intended purpose.
22                4.     On information and belief, the HVAC System is substantially
23   the same, from a mechanical engineering standpoint, in all Class Vehicles, in that
24   the HVAC Systems in all Class Vehicles are made up of substantially the same
25   components [evaporator, evaporator housing, ducting, fan, filter, drain lines, etc.],
26   and all employ the same general mechanism to deliver ventilation, heating, and
27   cooling to the passenger cabin.
28

     1274226.8                               -2-                  CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 3 of 68 Page ID #:3



 1                 5.     Because of its faulty design, during normal and expected
 2   conditions the HVAC System fails to properly evaporate or drain the condensation
 3   that accumulates within the system, creating a moist, hospitable environment for the
 4   growth of bacteria, fungus, mold, and spores, which then are blown into the
 5   passenger cabin when the HVAC system is in use (the “HVAC System Defect”).
 6   The mold-carrying air has a foul, mildewy smell that is highly unpleasant and can
 7   cause respiratory problems and aggravate allergies.
 8                 6.     The moldy, smelly air emitted by the HVAC System Defect is
 9   not a one-time event in the Class Vehicles – Class Members report it occurs every
10   time the HVAC System is turned on, and is especially pervasive in humid weather
11   or after it has rained.
12                 7.     When Plaintiffs and Class Members complain to Mercedes
13   about the HVAC System Defect, Mercedes’s only “solutions” are replacement of
14   the cabin air filter or “flushing the system”1, both of which are temporary and do
15   not address the original defective HVAC System design, and thus are not
16   permanent fixes for the Defect. What is worse, Mercedes made Class Members pay
17   out of pocket for these nonpermanent “fixes” for the HVAC System Defect even if
18   Class Members’ vehicle remained under warranty at the time.
19                 8.     The HVAC System Defect inhibits Class Members’ proper and
20   comfortable use of their vehicles’ air conditioning, and requires Class Members to
21   pay for repeated replacements of the cabin air filter and/or “flushing” of the HVAC
22   System.
23                 9.     On information and belief, prior to the manufacture and sale of
24   the vehicles at issue, Mercedes knew of the HVAC System Defect through sources
25   such as repair data; replacement part sales data; early consumer complaints made
26
27   1
      “Flushing the system” consists of partially disassembling the dashboard and
28   drilling a hole into the HVAC System and applying a disinfecting solution to the
     evaporator coil.
     1274226.8                                -3-                CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 4 of 68 Page ID #:4



 1   directly to Mercedes, collected by the National Highway Transportation Safety
 2   Administration’s Office of Defect Investigation (“NHTSA ODI”), and/or posted on
 3   public online vehicle owner forums; testing done in response to those complaints;
 4   aggregate data from Mercedes dealers; and other internal sources. Yet despite this
 5   knowledge, Mercedes failed to disclose and actively concealed the HVAC System
 6   Defect from Class Members and the public, and continued to market and advertise
 7   the Class Vehicles as “sophisticated,” “comfortable,” and “state-of-the-art”
 8   vehicles, which they are not.
 9                     10.   Mercedes knew or should have known that the “fix” it charged
10   Class Members for to “remedy” the HVAC System Defect – replacing the cabin air
11   filter or “flushing the system” – is not a permanent solution for the Defect.
12                     11.   Mercedes has failed to provide a permanent in-warranty fix for
13   the Defect and failed to reimburse Class Members for the costs of its temporary
14   “fixes” of filter replacement and “flushing the system”.
15                     12.   As a result of Mercedes’s alleged misconduct, Plaintiffs and
16   Class Members were harmed and suffered actual damages, in that the Class
17   Vehicles have manifested, and continue to manifest, the HVAC System Defect,
18   Mercedes has not provided a permanent remedy for this Defect. Furthermore,
19   Plaintiffs and Class Members have incurred, and will continue to incur, out-of-
20   pocket unreimbursed costs and expenses relating to the HVAC System Defect.
21                                           2.PARTIES
22
                 Plaintiff Manan Bhatt
23
                       13.   Plaintiff Manan Bhatt resides in Torrance, California.
24
                       14.   Mr. Bhatt owns a 2010 Mercedes C300W Sports Sedan, which
25
     he purchased on August 25, 2013, as a Mercedes Certified Pre-Owned vehicle from
26
     Alfano Motorcars Inc. in San Luis Obispo, California. Mr. Bhatt’s Class Vehicle
27
28

     1274226.8                                   -4-                CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 5 of 68 Page ID #:5



 1   was manufactured, sold, distributed, advertised, marketed, and warranted by
 2   Mercedes, and bears the Vehicle Identification No. WDDGF5EBOAF366596.
 3                15.     Mr. Bhatt purchased his Class Vehicle for his personal, family,
 4   and household use.
 5                16.     Before purchasing the vehicle, Mr. Bhatt reviewed the vehicle’s
 6   ownership history and reported structural and equipment damage through the
 7   website carfax.com. The report indicated no issues or reported recalls.
 8                17.     Mr. Bhatt purchased a Certified Pre Owned warranty from
 9   Mercedes for $2295.00. Mr. Bhatt’s vehicle remained under warranty throughout
10   the relevant period described herein during which Mercedes refused to permanently
11   repair or replace his defective HVAC System.
12                18.     Mr. Bhatt experienced a noxious odor caused by the HVAC
13   System Defect less than a week after he purchased the vehicle.
14                19.     After the incident, Mr. Bhatt notified his selling dealer, Alfano
15   Motorcars, by phone about the foul moldy smell. The selling dealer suggested that
16   Mr. Bhatt take the car to a local Mercedes-Benz dealer since Alfano Motorcars is
17   approximately 200 miles from Mr. Bhatt’s residence. Mr. Bhatt called the
18   Mercedes-Benz dealer, Mercedes-Benz of South Bay, in Torrance, CA and
19   explained the problem. The dealer told Mr. Bhatt that any repair of the HVAC
20   System would not be covered by warranty until the Vehicle was eligible for its first
21   service under warranty, which was in May 2014, approximately one year later.
22                20.     From approximately a week after his purchase when the smell
23   originated to his first service visit in May 2014, some eight months later, Mr. Bhatt
24   dealt with constantly foul and unpleasant odors in his newly acquired Class
25   Vehicle. In an attempt to make the passenger cabin bearable so as to be able to
26   drive and utilize his vehicle, Mr. Bhatt would air out the vehicle prior to driving it
27   by opening its windows, purchased and sprayed air freshener at a cost of
28   approximately $20.00, into the vehicle each time he entered it.

     1274226.8                                -5-                  CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 6 of 68 Page ID #:6



 1                21.    In May 2014, Mr. Bhatt took the vehicle to Mercedes-Benz of
 2   South Bay in Torrance, California.
 3                22.    Mr. Bhatt explained the continuing smell to the Mercedes-Benz
 4   dealer who proceeded to replace the cabin air filter at a cost of approximately
 5   $56.75 plus labor to Mr. Bhatt. Although Mr. Bhatt reasonably believed that the
 6   repair would be covered under the warranty he purchased, the Mercedes dealer
 7   claimed that it needed replacing due to “wear and tear” that exceeded the warranty.
 8   Mr. Bhatt disputed the dealer’s claim that he had in any way contributed to or
 9   caused the odor, but the dealer offered Mr. Bhatt no other means of alleviating the
10   foul odor.
11                23.    Mr. Bhatt was advised to turn off the Air Conditioner prior to
12   arrival to his destination to try to eradicate the odor, which he did.
13                24.    The moldy odor disappeared after the service visit but returned
14   in December 2014.
15                25.    Mr. Bhatt again complained of the smell to Mercedes-Benz of
16   South Bay. The dealer offered Mr. Bhatt two temporary “fixes” for the problem at
17   Mr. Bhatt’s expense: (1) replace the air cabin filter again for approximately $58 in
18   parts or (2) perform a complete “flush” of the HVAC System for approximately
19   $360 in parts and labor.
20                26.    As Mr. Bhatt’s parents were visiting from India the next week,
21   he felt he had no choice but to accept another temporary “fix” and therefore chose
22   to have the cabin air filter replaced at a cost of $57.65 plus tax to him.
23                27.    In February 2015, Mr. Bhatt lodged an official complaint about
24   the foul moldy smell while he was at Mercedes-Benz of South Bay. A Mercedes-
25   Benz representative called Mr. Bhatt to discuss the complaint within two weeks of
26   the date of his last service. The representative explained to Mr. Bhatt that Mercedes
27   cannot provide the replacement cabin air filter for free because, “There is no
28   official recall for this part from Mercedes-Benz manufacturing location.

     1274226.8                                -6-                  CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 7 of 68 Page ID #:7



 1   Unfortunately, we cannot provide you with the free parts or labor". However, as a
 2   good faith gesture the representative added a complimentary cabin air filter
 3   replacement to Mr. Bhatt’s account so that Mr. Bhatt would not be charged for the
 4   replacement when the moldy odor returns. The representative claimed that the
 5   warranty did not cover Mr. Bhatt’s previous cabin air filter replacements because
 6   the replacements were needed due to excessive “wear and tear” caused by Mr.
 7   Bhatt.
 8                28.    On or about February 6, 2016, Mr. Bhatt had his cabin filter
 9   changed by Mercedes-Benz of South Bay due to severe foul odor which was
10   covered by a “one time good[will] gesture.”
11                29.    Approximately one month after this filter change in Mr. Bhatt's
12   Class Vehicle, the foul odor returned.
13                30.    To date, Mr. Bhatt has paid approximately $194.47 out of
14   pocket for temporary “fixes” for the HVAC System Defect.
15                31.    Mr. Bhatt expected his Class Vehicle to be of good and
16   merchantable quality and not defective. He had no reason to know of, or expect,
17   that mold would develop in his vehicle’s HVAC System, nor was he aware from
18   any source prior to purchase of the unexpected, extraordinary, and costly
19   maintenance steps Mercedes suggests are necessary to prevent its development.
20   Had he known these facts, he would not have bought his Class Vehicle or would
21   have paid less for it.
22                32.    Mr. Bhatt regularly saw advertisements for Mercedes vehicles
23   on television, in magazines, on billboards, in brochures at the dealership, and on the
24   Internet during the years before he purchased his Mercedes C300W Sports Sedan in
25   2013. Although he does not recall the specifics of the many Mercedes
26   advertisements he saw before he purchased his Class Vehicle, he does recall that
27   state-of-the-art engineering and a comfortable interior were frequent themes across
28   the advertisements he saw. Those advertisements about state-of-the-art engineering

     1274226.8                                -7-                CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 8 of 68 Page ID #:8



 1   and a comfortable interior influenced his decision to purchase his vehicle. Had
 2   those advertisements or any other Mercedes materials disclosed to Mr. Bhatt that
 3   the Class Vehicles had defective HVAC Systems, or that he would have to pay for
 4   repairs/replacement of the HVAC system and/or air filtration system, he would not
 5   have purchased his Class Vehicle, or would not have purchased it at the price paid.
 6
                 Plaintiff Lisa Ruh
 7
                       33.    Plaintiff Lisa Ruh resides in San Diego, California.
 8
                       34.    Ms. Ruh owns a 2011 Mercedes C300W Sports Sedan, which
 9
     she purchased on September 10, 2011, as a Mercedes Certified Pre-Owned vehicle
10
     from Mercedes Benz of Laguna Niguel.
11
                       35.    Ms. Ruh’s Class Vehicle was manufactured, sold, distributed,
12
     advertised, marketed, and warranted by Mercedes, and bears the Vehicle
13
     Identification No. WDDGF5EB7BA461719.
14
                       36.    Ms. Ruh purchased her Class Vehicle for her personal, family,
15
     and household use.
16
                       37.    Ms. Ruh expected her Class Vehicle to be of good and
17
     merchantable quality and not defective. She had no reason to know of, or expect,
18
     that mold would develop in her vehicle’s HVAC System, nor was she aware from
19
     any source prior to purchase of the unexpected, extraordinary, and costly
20
     maintenance steps Mercedes suggests are necessary to prevent its development.
21
     Had she known these facts, she would not have bought her Class Vehicle or would
22
     have paid less for it.
23
                       38.    Ms. Ruh purchased her Class Vehicle as a Certified Pre Owned
24
     vehicle which provides Certified Pre Owned Warranty coverage past the new
25
     vehicle warranty. A further Certified Pre Owned Extended Warranty was added
26
     onto the vehicle. Ms. Ruh’s Class Vehicle remained under warranty throughout the
27
28

     1274226.8                                    -8-                 CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 9 of 68 Page ID #:9



 1   relevant period described herein during which Mercedes refused to permanently
 2   repair or replace her defective HVAC system.
 3                39.   Ms. Ruh experienced a noxious odor caused by the HVAC
 4   System Defect in approximately summer 2014.
 5                40.   On or about October 9, 2014, Ms. Ruh complained to her
 6   service advisor at Mercedes-Benz of San Diego in San Diego, CA about a very
 7   strong toxic smell coming from the vehicle each time the HVAC system is turned
 8   on. The service advisor indicated that they did not notice nor could they detect an
 9   abnormal odor. The advisor also stated that until they were able to corroborate the
10   odor, that there wasn’t anything that they could do about it.
11                41.   Shortly thereafter, Ms. Ruh had to contact Mercedes On-Site
12   Service to have her Class Vehicle towed to the dealer because it would not start.
13   She notified the on-site technician about a steadily increasing foul moldy smell
14   when the HVAC was in use and how the dealership had dismissed the concern. She
15   asked if he could validate the presence of a foul odor and he concurred that an odd
16   odor was present. He suggested and proceeded to spray Febreze at the base of the
17   windshield to try and remedy the odor. After the vehicle was towed to the
18   dealership, Ms. Ruh further complained of a smell to which the service advisor
19   advised that they still did not notice any odd smell. The odor remained.
20                42.   On or about June 25, 2015, Ms. Ruh again complained of the
21   odor to her service her advisor at Mercedes-Benz of San Diego and explained that
22   the toxic odor had gotten considerably worse and was making her nauseous, giving
23   her headaches, making her cough, and affecting her well-being, especially because
24   she has an underlying autoimmune disease. The dealer told Ms. Ruh that a filter and
25   disinfecting solution would be necessary and not covered by warranty. Ms. Ruh
26   reasonably believed the repairs would be covered by her warranty and requested
27   same but was denied. Ms. Ruh was advised the vehicle was not defective. Facing
28   no reasonable alternative, Ms. Ruh was charged and paid $152.48 plus tax for a

     1274226.8                               -9-                 CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 10 of 68 Page ID #:10



  1   filter, disinfectant, and labor – all for what was only a temporary “fix”. The smell
  2   quickly returned less than a week later.
  3                43.    In order to try to mitigate the smell, Ms. Ruh avoided running
  4   the air conditioner until and unless it was absolutely unbearable to go without it.
  5                44.    Ms. Ruh continued to experience breathing/coughing issues and
  6   an immediate sense of light headedness/nausea with the use of the HVAC system.
  7   During long drives, she would experience runny nose and headaches. To mitigate
  8   this, she would avoid the use of her HVAC system despite the heat experienced in
  9   San Diego. She also received comments from friends while riding in her vehicle
 10   that there was indeed a very disturbing odor with the use of the HVAC system.
 11                45.    On or about February 15, 2016, Ms. Ruh brought in her vehicle
 12   to Mercedes-Benz of Escondido for continued foul odor smells coming from the
 13   vehicle and other complaints. The dealer performed an evaporator clean and
 14   installed a new air filter at no charge to her under a “goodwill” policy.
 15                46.    The smell returned on or about March 4, 2016, some eighteen
 16   days after the treatment was conducted.
 17                47.    To date, Ms. Ruh has paid $163.88 out of pocket for temporary
 18   “fixes” for the HVAC System Defect.
 19                48.    Ms. Ruh regularly saw advertisements for Mercedes vehicles on
 20   television, in magazines, on billboards, in brochures at the dealership, and on the
 21   Internet during the years before she purchased her Mercedes C300W Sports Sedan
 22   in 2011. Although she does not recall the specifics of the many Mercedes
 23   advertisements she saw before she purchased her Sports Sedan, she does recall that
 24   state-of-the-art engineering and a comfortable interior were frequent themes across
 25   the advertisements she saw. Those advertisements about state-of-the-art engineering
 26   and a comfortable interior influenced her decision to purchase her vehicle. Had
 27   those advertisements or any other Mercedes materials disclosed to Ms. Ruh that the
 28   Class Vehicles had defective HVAC Systems, or that she would have to pay for

      1274226.8                               - 10 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 11 of 68 Page ID #:11



  1   repairs/replacement of the HVAC system and/or air filtration system, she would not
  2   have purchased her Class Vehicle, or would not have purchased it at the price paid.
  3               Plaintiff Sunil Amin
  4                     49.   Plaintiff Sunil Amin resides in Atlanta, Georgia.
  5                     50.   Mr. Amin owns a 2013 Mercedes C250 Coupe, which he
  6   purchased new on November 10, 2012, from RBM of Atlanta North in Alpharetta,
  7   Georgia.
  8                     51.   Mr. Amin’s Class Vehicle was manufactured, sold, distributed,
  9   advertised, marketed, and warranted by Mercedes, and bears the Vehicle
 10   Identification No. WDDGJ4HB0DF966835.
 11                     52.   Mr. Amin purchased the Class Vehicle for his personal, family,
 12   and household use.
 13                     53.   Mr. Amin expected his Class Vehicle to be of good and
 14   merchantable quality and not defective. He had no reason to know of, or expect,
 15   that mold would develop in his vehicle’s HVAC System, nor was he aware from
 16   any source prior to purchase of the unexpected, extraordinary, and costly
 17   maintenance steps Mercedes suggests are necessary to prevent its development.
 18   Had he known these facts, he would not have bought his Class Vehicle or would
 19   have paid less for it.
 20                     54.   Mr. Amin first experienced a noxious odor caused by the HVAC
 21   System in approximately January of 2014.
 22                     55.   Since that time, the noxious odor has continued unabated. The
 23   HVAC system emits the odor when the vehicle’s climate control system is first
 24   engaged and generally persists.
 25                     56.   The strength of the odor intensifies after any periods of rain.
 26                     57.   Mr. Amin regularly saw seen advertisements for Mercedes
 27   vehicles on television, in magazines, on billboards, in brochures at the dealership,
 28   and on the Internet during the years before he purchased his Mercedes C250 Sports

      1274226.8                                   - 11 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 12 of 68 Page ID #:12



  1   Coupe in 2012. Although he does not recall the specifics of the many Mercedes
  2   advertisements he saw before he purchased his Sports Coupe, he does recall that
  3   state-of-the-art engineering and a comfortable interior were frequent themes across
  4   the advertisements he saw. Those advertisements about state-of-the-art engineering
  5   and a comfortable interior influenced his decision to purchase his vehicle. Had
  6   those advertisements or any other Mercedes materials disclosed to Mr. Amin that
  7   the Class Vehicles had defective HVAC Systems, or that he would have to pay for
  8   repairs/replacement of the HVAC system and/or air filtration system, he would not
  9   have purchased his Class Vehicle, or would not have purchased it at the price paid.
 10                     58.   On January 29, 2016 Mr. Amin, through counsel, sent Mercedes
 11   a letter sent pursuant to the Georgia Fair Business Practices Act, O.C.G.A. § 10-1-
 12   390, et. seq., requesting relief and repair of the defects exhibited in Class Vehicles
 13   for Mr. Amin and others similarly situated; to which Mercedes responded through
 14   counsel denying the existence of any defect, failing to offer to repair Mr. Amin or
 15   anyone else’s vehicles, failing to compensate out-of-pocket expenses for those who
 16   have incurred them, and failing to guarantee to honor claims for this defect going
 17   forward, and only offering a small sum to resolve his claim alone. Further,
 18   Mercedes alleges the complained of problems to be “a maintenance issue”
 19   presumably implying that all purchasers who have experienced foul odors have
 20   failed to properly maintain their Class Vehicles. Mr. Amin found this response from
 21   Mercedes to be an unsatisfactory response to his request for relief.
 22               Plaintiff Trushar Patel
 23                     59.   Plaintiff Trushar Patel resides in Johns Creek, Georgia.
 24                     60.   Dr. Patel owns a 2014 Mercedes E350 Sedan, which he
 25   purchased new on January 16, 2015, from Mercedes-Benz of Buckhead in Atlanta,
 26   Georgia, along with a Mercedes Pre-Paid Service Plan.
 27
 28

      1274226.8                                  - 12 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 13 of 68 Page ID #:13



  1                61.     Dr. Patel’s Class Vehicle was manufactured, sold, distributed,
  2   advertised, marketed, and warranted by Mercedes, and bears the Vehicle
  3   Identification No. WDDHF5KBXEA997500.
  4                62.     Dr. Patel purchased the Class Vehicle for his personal, family,
  5   and household use.
  6                63.     Dr. Patel expected his Class Vehicle to be of good and
  7   merchantable quality and not defective. He had no reason to know of, or expect,
  8   that mold would develop in his vehicle’s HVAC System, nor was he aware from
  9   any source prior to purchase of the unexpected, extraordinary, and costly
 10   maintenance steps Mercedes suggests are necessary to prevent its development.
 11   Had he known these facts, he would not have bought his Class Vehicle or would
 12   have paid less for it.
 13                64.     Dr. Patel first experienced a noxious, pungent, sour, musty odor
 14   caused by the HVAC System in approximately March or April 2015.
 15                65.     Since that time, the noxious odor has continued unabated. The
 16   HVAC system emits the odor when the vehicle’s climate control system is first
 17   engaged and generally persists.
 18                66.     The strength of the odor intensifies after any periods of rain.
 19                67.     At its very first service “Service A”, Dr. Patel explained the
 20   problem of a smell that is quite often “ripe” to his service advisor at Mercedes-Benz
 21   of Buckhead. Although Dr. Patel reasonably believed that the repair would be
 22   covered under the warranty and/or his prepaid service plan, the authorized
 23   Mercedes dealer claimed that the filter needed replacing at a cost of $185 to Dr.
 24   Patel. When Dr. Patel inquired as to why the filter needed replacement so soon, he
 25   was advised that the filter required replacement every year. Dr. Patel explained that
 26   the vehicle was only purchased and in use since January and shouldn’t require a
 27   filter that soon. The service advisor told Dr. Patel that the remedy was not covered
 28

      1274226.8                                - 13 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 14 of 68 Page ID #:14



  1   by his prepaid service or warranty and that the filter would only be replaced in the
  2   next service “Service B.”
  3                68.   Prior to this purchase, Dr. Patel had previously purchased and
  4   owned Mercedes vehicles but did not experience any odor issues with those
  5   vehicles.
  6                69.   Prior to this purchase, Dr. Patel was not advised of the Defect
  7   and tendency, known by Mercedes, of his new vehicle to emit noxious odors prior
  8   to purchasing it. He relied upon Mercedes’ assertions of the capabilities and
  9   comfort of his new vehicle via salesmen and brochures and ads. He also reasonably
 10   expected that Mercedes would stand behind its products and claims for warranty
 11   benefits by a long-time and repeat customer – especially when the problem/defect
 12   manifested within a few months of a new vehicle’s purchase. Dr. Patel reasonably
 13   expected to receive a vehicle with state-of-the-art engineering and a comfortable
 14   interior. Advertisements about state-of-the-art engineering and a comfortable
 15   interior, recommendations and personal experience with his Mercedes dealer
 16   influenced his decision to purchase his vehicle. Had those advertisements or any
 17   other Mercedes materials or personnel disclosed to Dr. Patel the nature of the defect
 18   in the Class Vehicle’s HVAC Systems, or that he would have to pay for
 19   repairs/replacement of the HVAC system and/or air filtration system, he would not
 20   have purchased his Class Vehicle, or would not have purchased it at the price paid.
 21                70.   For further peace-of-mind with his new purchase, Dr. Patel
 22   purchased an additional Mercedes Pre-Paid Service Plan with his vehicle. He
 23   expected piece-of-mind and protection against surprise billings or expenses. The
 24   Plan documents stated “you don’t have to worry about any unexpected bills. This
 25   frees you from additional workshop costs as unexpected repairs, maintenance or
 26   wear parts are already covered, depending on the specific service contract*. You
 27   therefore don’t have to worry about workshop bills and your Mercedes remains in
 28   top condition. With the service contract you will always receive Mercedes-

      1274226.8                              - 14 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 15 of 68 Page ID #:15



  1   Benz quality – with the service of our qualified workshop specialists and Mercedes-
  2   Benz Genuine Parts.”
  3                    71.   Because of the foul odors, Dr. Patel’s enjoyment and use of the
  4   vehicle were and are curtailed. He is forced to leave his windows open to vent the
  5   vehicle whenever reasonably possible. He avoids parking in open areas where rain
  6   could fall on the vehicle and exacerbate the odors. He unsuccessfully attempted to
  7   mitigate the odors by adjusting HVAC settings to try and find an acceptable level
  8   that would not release odors. Dr. Patel purchased and installed air fresheners at an
  9   estimated cost of $25.00 to attempt to mask the smell. He and his family were
 10   forced to endure unpleasant smells in a brand new vehicle almost from the onset of
 11   its use.
 12               Defendant Mercedes-Benz
 13                    72.   Defendant MERCEDES-BENZ is a Delaware corporation with
 14   its principal place of business in Montvale, NJ.
 15                    73.   At all times relevant herein, MERCEDES-BENZ engaged in the
 16   business of designing, manufacturing, constructing, assembling, marketing,
 17   warranting, distributing, selling, leasing, and servicing automobiles, including the
 18   Class Vehicles, and other motor vehicles and motor vehicle components throughout
 19   the United States.
 20                                       3.JURISDICTION
 21                    74.   This Court has diversity jurisdiction over this action under 28
 22   U.S.C. §§ 1332(a) and (d) because the amount in controversy for the Class exceeds
 23   $5,000,000, and Plaintiffs and other Class Members are citizens of a different state
 24   than Defendant.
 25                    75.   This Court has personal jurisdiction over Mercedes because
 26   Mercedes is authorized to do business in California, Mercedes conducts substantial
 27   business in this District, some of the actions giving rise to the complaint took place
 28   in this District, Mercedes has minimum contacts with California, and/or Mercedes

      1274226.8                                  - 15 -              CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 16 of 68 Page ID #:16



  1   otherwise intentionally avails itself of the markets in California through the
  2   promotion, marketing, and sale of its products in California, each of which are
  3   sufficient bases to render the exercise of jurisdiction by this Court permissible
  4   under traditional notions of fair play and substantial justice. This Court also has
  5   personal jurisdiction over Mercedes under 18 U.S.C. § 1965 because Mercedes is
  6   found in, has an agent in, or transacts business in this District.
  7                                          4.VENUE
  8                76.    Venue is proper in this District under 28 U.S.C. § 1391 because
  9   Mercedes, as a corporation, is deemed to reside in any judicial district in which it is
 10   subject to personal jurisdiction. Additionally, Mercedes transacts business within
 11   the District, and some of the events establishing the claims arose in this District.
 12                77.    Plaintiffs’ venue declarations pursuant to Cal. Civ. Code
 13   § 1780(d) are attached hereto as Exhibits A and B.
 14                                  5.APPLICABLE LAW
 15                78.    Plaintiffs, who assert their claims against MERCEDES-BENZ, a
 16   New Jersey Corporation, seek damages and equitable relief on behalf of themselves
 17   and all other persons and entities similarly situated, under the laws of California
 18   and/or Georgia and/or New Jersey, or under the law of all states that are
 19   substantially similar.
 20                79.    California has a materially greater interest than any other State
 21   in enforcing the rights and remedies granted to consumers under the California laws
 22   invoked in this Complaint. These rights and remedies further strong fundamental
 23   public policies of the State of California.
 24                80.     As an alternative to the application of California law to a
 25   nationwide class, for those Class members who reside in states whose laws do not
 26   materially conflict with California law with respect to the claims and facts alleged
 27   here, the Court can and should apply California law to those Class members’
 28   claims.

      1274226.8                                - 16 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 17 of 68 Page ID #:17



  1                            6.FACTUAL ALLEGATIONS
  2               81.    Plaintiffs bring this action for themselves and on behalf of all
  3   Class Members. Plaintiffs are informed and believe that, because of the HVAC
  4   System Defect, the HVAC Systems in the Class Vehicles are predisposed to
  5   produce a moldy odor under normal use conditions that would not cause non-
  6   defective HVAC Systems to produce a moldy odor, compromising the comfort and
  7   enjoyment of vehicle occupants, including Class Members, and requiring them to
  8   pay for repeated nonpermanent “fixes” including replacements of the cabin air filter
  9   and “flushing the system” with disinfectant spray.
 10               82.    The diagram below illustrates the components and functioning
 11   of the HVAC systems:
 12
 13
 14
 15
 16
 17
 18
 19
 20
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 27
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      1274226.8                              - 17 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 18 of 68 Page ID #:18



  1                83.   As a vehicle’s HVAC system cools air, condensation forms on a
  2   component called an evaporator (labeled 3 in the diagram above). In a non-
  3   defective system, this condensation is evaporated through the activation of a fan
  4   and airflow over the evaporator.
  5                84.   On information and belief, condensation that builds on the
  6   evaporator and elsewhere within the Class Vehicles’ HVAC systems is never
  7   properly and fully evaporated. This residual moisture provides a haven for the
  8   growth of mold and mildew as spores enter the system through outside vents.
  9                85.   Based on preliminary investigation and inspection, due to the
 10   Defect, several mold species, including Aspergillus/Pencillium, Ascospores, and
 11   Smut/Periconia/Myxomy, are present in the evaporator of Class Vehicles. Said
 12   molds are known to secrete mycotoxins such as Patulin, creating and contributing
 13   to the foul odors experienced by Plaintiffs and Class Members.
 14                86.   Mycotoxins are toxic to human and animals and known to cause
 15   some or all of the following: allergic reactions, infections, cellular damage, DNA
 16   damage, interference with RNA synthesis, inflammation, gastroenteritis, and other
 17   harmful effects.
 18                87.   Mercedes knew or should have known that having a damp,
 19   poorly draining, component which could promote the growth of mold, could result
 20   in or at least promote, reactions, diseases, symptoms, or complications in
 21   passengers of Class Vehicles, presenting a risk to their health and safety, especially
 22   when the growth is in the airway to a tightly sealed and enclosed space containing
 23   one or more human beings and animals.
 24                88.   Over time, the mold/mildew/fungus growing in the evaporator
 25   can spread, resulting in reduced HVAC System efficiency, while also becoming
 26   more difficult to remove and requiring evaporator replacement in some instances.
 27
 28

      1274226.8                               - 18 -              CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 19 of 68 Page ID #:19



  1                    89.   Moreover, the tightly sealed and enclosed passenger
  2   compartment could cause concentration levels of toxic smells and chemicals to
  3   become much higher than in larger and less tightly sealed spaces.
  4                    90.   Replacing the filter is not a fix for the Defect because the filter
  5   is “upstream” from the evaporator.
  6                    91.   The Class Vehicles at issue in this action include the 2008-2016
  7   Mercedes C-Class, 2013-2016 Mercedes CLA-Class, 2003-2009 Mercedes CLK-
  8   Class, 2004-2016 Mercedes CLS-Class, 2003-2016 Mercedes E-Class, 2007-2016
  9   Mercedes GL-Class, 2010-2016 Mercedes GLK-Class, 2006-2016 Mercedes M-
 10   Class, 2006-2015 Mercedes R-Class, 2006-2016 Mercedes S-Class, 2003-2012
 11   Mercedes SL-Class, and 2004-2010 Mercedes SLK-Class (the “Class Vehicles”).2
 12                    92.   Plaintiffs reserve the right to amend the definition of “Class
 13   Vehicles,” should further discovery reveal that additional models and model-years
 14   are affected by the HVAC System Defect.
 15               A.   Mercedes Knew of the HVAC System Defect Prior to Sale or Lease
                       of the Class Vehicles
 16
 17                    93.   On information and belief, Mercedes learned of the HVAC
 18   System Defect at least as early as 2008, and certainly well before Plaintiffs and
 19   Class Members purchased or leased their Class Vehicles, through sources such as
 20   arbitration actions; repair data; replacement part sales data; early consumer
 21   complaints made directly to Mercedes, collected by NHTSA ODI, and/or posted on
 22   public online vehicle owner forums; testing done in response to those complaints;
 23   aggregate data from Mercedes dealers; as well as through other internal sources
 24   unavailable to Plaintiffs prior to discovery.
 25
 26
 27
      2
 28    Discovery will enable Plaintiffs to more precisely determine which model-years
      share the same defective HVAC System design.
      1274226.8                                   - 19 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 20 of 68 Page ID #:20



  1               B.   Mercedes Was Directly Made Aware of the Defect Via a Successful
                       Consumer Arbitration Action Brought Against It
  2
                       94.   Mercedes learned of the HVAC System Defect at least as early
  3
      as 2008, when a Class Vehicle owner brought – and won – a consumer arbitration
  4
      action against Mercedes for the Defect.
  5
                       95.   The following is a synopsis of the Florida Consumer Complaint
  6
      and Arbitration decision rendered against Mercedes in Fattah v. Mercedes-Benz
  7
      USA, Inc., 2008-0441/MIA (Fla. NMVAB November 14, 2008):
  8
                       The Consumer complained of a foul musty odor coming
  9                    from the air conditioner vents in her 2007 Mercedes
 10                    C230. The Consumer testified that the severity of the odor
                       had reduced; however, the odor still existed. The
 11                    Manufacturer contended that the alleged defect did not
 12                    substantially impair the use, value or safety of the vehicle.
                       While not denying the existence of the odor, the
 13                    Manufacturer asserted that outside elements and humid
 14                    South Florida temperatures contributed to the odor. The
                       Board rejected the Manufacturer’s argument and found
 15                    that the odor substantially impaired the use, value and
 16                    safety of the vehicle. Accordingly, the Consumer was
                       awarded a refund.3
 17
                       96.   During the arbitration hearing, Mercedes was represented by
 18
      counsel, a Mercedes-Benz USA representative out of the Montvale, NJ,
 19
      headquarters, a Mercedes-Benz USA Technical Specialist for the South Florida
 20
      region, and the Service Manager at the dealership the consumer had visited
 21
      complaining about the odor.
 22
                       97.   Mercedes described the HVAC Defect during the hearing: “The
 23
      system works in such a way that it will – the AC is supposed to get rid of all the
 24
      humidity from the air, ok? And in some cases, you know, where you shut the car
 25
      off, some water will remain in the evaporator … what happens is it will accumulate
 26
      3
 27    Office of the Florida Attorney General, Florida New Motor Vehicle Arbitration
      Board Quarterly Case Summary for 4th Quarter (October 2008 - December 2008),
 28   available at http://myfloridalegal.com/webfiles.nsf/WF/MRAY-7SAJZG/$file/Oct-
      Dec08.pdf.
      1274226.8                                   - 20 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 21 of 68 Page ID #:21



  1   there. It will not fully drain.” Mercedes went on to say that the water that
  2   accumulates is what ultimately leads to the moldy odor.
  3                      98.    Under questioning from the Arbitration Board, Mercedes
  4   admitted that as long as the consumer keeps the car, she’s going to have to keep
  5   getting Mercedes temporary “fix”, which one Board member called “a band-aid.”
  6                      99.    During deliberation, the Board found:
  7
                  The issue with the vehicle is that it’s got a musty smell, Mercedes
  8               knows about it, they have a technical service bulletin to address it, so
                  apparently they’ve had enough complaints on this where it rose to the
  9
                  level of having to deal with it. The way they deal with it is they use
 10               the disinfectant to clean, and if you read the TSB, you’ve got to get in
                  there and make sure you clean the whole evaporator as much as
 11
                  possible … Mercedes has admitted that, yeah, there is a problem, that
 12               this is the best they know how to fix it. … So nothing that they’ve
                  done has made the smell completely disappear.
 13
                  …
 14
                  You know, that’s one way to look at it in terms of how strong the odor
 15
                  is. Another way to look at it is that the cure doesn’t work. And this is
 16               going to be with her and the vehicle for as long as she has the vehicle.
 17               That’s the way it looks, because she’s coming back in and that’s why I
                  was questioning him, because I wanted to see if they found the
 18               problem and here’s the solution to the problem. There is no real
 19               solution. In other words, they haven’t come up with anything to say, I
                  mean, change this and there’s not going to be anymore accumulation
 20               of water and, in fact, in other models, from what he’s saying, they
 21               don’t have that problem because whatever the engineering is, it
                  prevents it. And on this model, it’s not there. So, you know, it’s sort
 22               of like a defect, which they are trying to deal with, and they can’t
 23               really deal with it in all the cases.
                  …
 24
 25               there’s really not a fix for the vehicle. And there shouldn’t be a smell
                  to the vehicle. This is a vehicle that, to me, the fact that the smell
 26               persists is substantial in itself. I think that this is a substantial problem
 27               that this vehicle has with this smell. It’s not going to go away.
                  There’s nothing you can do that’s going to say we’re going to
 28               eliminate the smell in this car. It’s just not gonna happen. There’s no

      1274226.8                                      - 21 -                CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 22 of 68 Page ID #:22



  1               remedy to get rid of the smell, period. We’re going to do this and it’s
  2               going to fix it. And I have a problem with that. … it’s just a design
                  problem issue
  3
                        100. Mercedes knew or should have known of the HVAC Defect
  4
      from at least as early as this arbitration hearing in 2008.
  5
                  C.    Mercedes’s Knowledge of the HVAC System Defect from Dealer
  6                     Technical Bulletins
  7                     101. Mercedes’s knowledge of the HVAC System Defect is
  8   demonstrated by Dealer Technical Bulletins issued by Mercedes concerning the
  9   Defect.
 10                     102. Upon information and belief, Mercedes issued Dealer Technical
 11   Bulletins to its dealerships and service centers describing the HVAC System Defect
 12   (or the moldy smell consumers were complaining about) and informing service
 13   technicians of the temporary “fix” Mercedes was offering.
 14               D.    Mercedes’s Knowledge of the HVAC System Defect from Repair
                        Data
 15
                        103. Mercedes also knew or should have known about the HVAC
 16
      System Defect because of the large number of HVAC System repairs and Cabin Air
 17
      Filter replacements made during the Class Vehicles’ warranty periods.
 18
                        104. Upon information and belief, Mercedes collects, reviews, and
 19
      analyzes detailed information about repairs made on vehicles still under warranty at
 20
      its dealerships and service centers, including the type and frequency of such
 21
      repairs.4 Complete data on such repairs is exclusively within Mercedes’s control
 22
      and unavailable to Plaintiffs without discovery.
 23
 24
 25
 26
 27   4
        For example, in the Fattah arbitration hearing, Mercedes-Benz counsel testified
 28   that Mercedes received a “motor vehicle defect notification” after at least three
      repairs for the HVAC System odor.
      1274226.8                                    - 22 -              CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 23 of 68 Page ID #:23



  1               E.   Mercedes’s Knowledge of the HVAC System Defect Gathered
                       from the Large Number of Replacement Cabin Air Filters
  2                    Ordered from Mercedes
  3                    105. Upon information and belief, Mercedes also knew or should
  4   have known about the HVAC System Defect because of the higher than expected
  5   number of replacement cabin air filters ordered from Mercedes, which should have
  6   alerted Mercedes that this was a Defect affecting a wide range of its vehicles.
  7                    106. Upon information and belief, Mercedes service centers use
  8   Mercedes replacement parts that they order directly from Mercedes. Therefore
  9   Mercedes would have detailed and accurate data regarding the number and
 10   frequency of replacement part orders, including replacement Cabin Air Filters. The
 11   ongoing high sales of replacement cabin air filters was (or should have been)
 12   known to Mercedes, and alerted Mercedes that its HVAC Systems were defective
 13   and causing Class Vehicles’ Air Conditioning systems to emit moldy odors
 14   frequently and consistently.
 15               F.   Mercedes’s Knowledge of the HVAC System Defect Gained From
                       Class Member Complaints Made Directly To Mercedes
 16
                       107. Mercedes also knew or should have known about the HVAC
 17
      System Defect because numerous consumer complaints regarding failures of the
 18
      HVAC System were made directly to Mercedes. The large number of complaints,
 19
      and the consistency of their descriptions of the HVAC System Defect and the mold
 20
      formation and foul, noxious odors it caused in the Class Vehicles, alerted Mercedes
 21
      to this serious defect affecting a wide range of its vehicles.
 22
                       108. The full universe of complaints made directly to Mercedes about
 23
      the HVAC System Defect is information presently in the exclusive custody and
 24
      control of Mercedes and is not yet available to Plaintiffs prior to discovery.
 25
      However, upon information and belief, many Class Vehicle owners complained
 26
      directly to Mercedes and Mercedes dealerships about the repeated HVAC System
 27
      failures their vehicles experienced. For example, some instances of these direct-to-
 28

      1274226.8                                - 23 -                  CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 24 of 68 Page ID #:24



  1   Mercedes complaints are described in Class Vehicle owners’ complaints logged
  2   with NHTSA ODI and posted on online vehicle owner forums:
  3   •           “MY CAR SMELLS LIKE MILDEW AND MOLDY. I HAVE TAKEN IT
  4   TO THE DEALER ABOUT 3 TIMES ABOUT THIS SITUATION. I HAVE
  5   RESPIRATORY PROBLEMS AND ALLERGIES AND I CAN HARDLY USED
  6   THIS CAR, IT STINKS AND BOTHERS MY BREATHING” Complaint in
  7   NHTSA ODI database, ODI ID No. 10342816, date of incident October 28, 2008.
  8   •           Took my 09 C300 in to MB for a moldy smell. Wife just called and said they
  9   want $155.00. Car has 24,000 on it. Question shouldn't this be covered under
 10   warranty?” http://www.benzworld.org/forums/ (posted on March 2011)
 11   •           “I have a 2006 E350 that has developed a noticeable musty/mold smell
 12   emitting from the a/c system. Car is under warranty, dealership is just changing
 13   parts in hopes of stumbling across the problem. To date they have changed the
 14   cabin air filter and done the service bulletin on system clean-out, replaced the
 15   condenser …. Anyway, now I notice a distinct mold smell coming from the front,
 16   outside area of the car when it's parked in the garage. I have been on my knees
 17   crawling all around the car and cannot nail the source. The dealership service writer
 18   is useless as I probably could leave a voicemail for the mechanic and probably do
 19   better. Car always garaged in Palm Beach area. Any clues? Thanks.”
 20   peachparts.com (posted April 2007).
 21                     109. As the above sampling of complaints shows, Class Members
 22   have been vocal in complaining directly to Mercedes about the HVAC System
 23   Defect, and the number and consistency of their complaints should have alerted
 24   Mercedes about the HVAC System Defect.
 25               G.    Mercedes’s Knowledge of the HVAC System Defect From Class
                        Member Complaints Collected by NHTSA’s Office of Defect
 26                     Investigations
 27                     110. In addition to complaints made directly to Mercedes, many
 28   Class Vehicle owners lodged complaints about the HVAC System Defect with

      1274226.8                                  - 24 -             CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 25 of 68 Page ID #:25



  1   NHTSA’s Office of Defect Investigations (“NHTSA ODI”), beginning as early as
  2   2008, and certainly well before Plaintiffs and Class Members purchased or leased
  3   their Class Vehicles.
  4                   111. Federal law requires automakers like Mercedes to be in close
  5   contact with NHTSA regarding potential auto defects, including imposing a legal
  6   requirement, backed by criminal penalties for violation, of confidential disclosure
  7   of defects by automakers to NHTSA, including field reports, customer complaints,
  8   and warranty data. See TREAD Act, Pub. L. No. 106-414, 114 Stat. 1800 (2000).
  9                   112. Thus automakers should (and do) monitor NHTSA databases for
 10   consumer complaints regarding their automobiles as part of the automakers ongoing
 11   obligation to identify potential defects in their vehicles, including design-related
 12   defects, such as failures of HVAC Systems to filter and emit mold- and odor-free
 13   air as intended.
 14                   113. From its monitoring of the NHTSA databases, Mercedes knew
 15   or should have known of the many complaints about HVAC System failure logged
 16   by NHTSA ODI, and the content, consistency, and large number of those
 17   complaints alerted, or should have alerted, Mercedes to the HVAC System Defect.
 18                   114. NHTSA’s publicly available ODI database contains only
 19   complaints made in the past five years on its website; thus complaints made before
 20   2008 are not readily accessible. Mercedes, however, had contemporaneous and on-
 21   going access to the NHTSA consumer complaint data and that information cannot
 22   be obtained by Plaintiffs without discovery. A sampling of the publicly available
 23   complaints lodged with NHTSA ODI, however, includes those quoted in paragraph
 24   ¶¶ 108, as well as the following:
 25   •           “MOLDS AND MILDEW BUILD UP IN THE AIR CONDITION DUCTS
 26   PLACING PEOPLE WHO ARE SUSCEPTIBLE FOR INFECTION (PEOPLE
 27   WITH WEAK IMMUNE SYSTEM) AT RISK FOR FATAL INFECTION. THE
 28   DEALER STATED THAT THIS IS A KNOWN AND COMMON CONDITION

      1274226.8                                - 25 -              CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 26 of 68 Page ID #:26



  1   FOR THIS CAR BECAUSE THE AC BOX DOES NOT DRAIN THE
  2   CONDENSED WATER. THIS IS BECAUSE THE WAY THE CAR WAS
  3   DESIGNED. THE DEALER RECOMMENDED TURNING OFF THE AC FOR
  4   30 SECONDS WHILE KEEPING JUST THE FAN ON EVERY TIME BEFORE
  5   TURNING OFF THE CAR TO DRY UP THE CONDENSED WATER ON THE
  6   AC COILS, NOT PRACTICAL. THE DEALER HAS A KNOWN SERVICE TO
  7   DISINFECT THE AC SYSTEM BUT BECAUSE OF THE CAR DESIGN
  8   COULD NOT GUARANTEE THAT THE CONDITION WILL NOT RETURN.
  9   THERE IS NO WARNING OR ANY INSTRUCTIONS IN THE MANUAL
 10   REGARDING THIS POTENTIALLY FATAL CONDITION FOR SUSCEPTIBLE
 11   PEOPLE.” Complaint in NHTSA ODI database, ODI ID No. 1065573, date of
 12   incident July 12, 2014.
 13   •           “MY CAR SMELLS LIKE MILDEW AND MOLDY. I HAVE TAKEN IT
 14   TO THE DEALER ABOUT 3 TIMES ABOUT THIS SITUATION. I HAVE
 15   RESPIRATORY PROBLEMS AND ALLERGIES AND I CAN HARDLY USED
 16   THIS CAR, IT STINKS AND BOTHERS MY BREATHING” Complaint in
 17   NHTSA ODI database, ODI ID No. 10342816, date of incident October 28, 2008.
 18                    115. As the above sampling of complaints makes clear, Class
 19   Members have been vocal in complaining to NHTSA ODI about the HVAC System
 20   Defect since at least 2008, and Mercedes was, or should have been, aware of and
 21   monitoring those complaints, and thus should have known about the HVAC System
 22   Defect since at least 2008, and certainly well before Plaintiffs and Class Members
 23   purchased or leased their Class Vehicles.
 24               H.   Mercedes’s Knowledge of the HVAC System Defect Gleaned From
                       Class Member Complaints on Public Online Forums
 25
                       116. In addition to complaints made directly to Mercedes and
 26
      collected by NHTSA ODI, many Class Vehicle owners posted complaints about the
 27
 28

      1274226.8                                - 26 -             CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 27 of 68 Page ID #:27



  1   HVAC System Defect on public online vehicle owner forums. The following is a
  2   small sampling of such complaints:
  3                     117. “Took my 09 C300 in to MB for a moldy smell. Wife just called
  4   and said they want $155.00. Car has 24,000 on it. Question shouldn't this be
  5   covered under warranty?” http://www.benzworld.org/forums/ (posted on March
  6   2011)
  7   •           “Definitely a strong odor coming from the HVAC system that makes it a
  8   little embarrassing to have others ride along in your "luxury" automobile. Any
  9   advice on how to completely correct this would be appreciated.”
 10   www.repairpal.com
 11   •           “Crayon type smell in the HVAC system that is so pungent that the wife can't
 12   even stand to be in the car.” www.repairpal.com
 13   •           “I have noticed a very bad or mushy smell when I start my car with A/C off(
 14   after I have shut the car for sometime and the AC was running when i shut the car).
 15   This gets better in 10-15 seconds after I turn the AC on. The smell is a very strong
 16   smell of moisture with stangnant air.... Does anyone have the same experience? I
 17   am worried as it might be a problem with my cabin air filter. My car is only
 18   3000miles on it. Thanks” http://mbworld.org/forums/ (posted on March 2012).
 19   •           “Whenever i turn the air on, the first 30 seconds it smells really bad, i have to
 20   pen the windows till it clears out. I checked all the filters already. Any idea how can
 21   i make it smell nice/normal?? thnx alot,Lina.” Answers.yahoo.com (posted 2007).
 22
      •           “My wife complained that our 2014 S550 also had musty dirty socks smell 7
 23
      months after purchase. I confirmed the smell and my wife's multiple friends
 24
      confirmed the “sour stinking socks smell”. I took the car (S550) to the FJ Newport
 25
      but they say unable to comfirm the smell and told us to pick up the car. They also
 26
      say that they don't have any known problem with 2014 S550 and further say that
 27
      the advisor is told to not take the car in the shop unless they can verify the smell. I
 28

      1274226.8                                     - 27 -              CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 28 of 68 Page ID #:28



  1   guess all dealer techs are very insensitive to smells.^^ So we had to pick up the car
  2   and bring the car back home. We stopped driving the S550 for a while (weeks) until
  3   we are sure of mold free. Because both my wife and I have a certain genetric
  4   marker and also have compromised auto immune system and we cannot deal with
  5   any mold issue if there exists. Mbworld.org (posted December 2014)
  6
      •           “My problem concerns a 2001 C320 with 60,000 miles. The climate control
  7
      emits a extremely musty sower smell from the air vents when the vehicle is first
  8
      started with the AC on. I presume the air ducts are clear of anything that might
  9
      smell as the smell is absent when in the heat mode. I have wondered if the problem
 10
      might be related to the AC charging system, receiver/drier, or a condensation drain
 11
      tube etc. I know little or nothing about my MB AC. Any thoughts or advice are
 12
      appreciated before I start dismantling & throw parts at it.” www.mbca.org (posted
 13
      October 2004).
 14
      •           “I have a 2006 E350 that has developed a noticeable musty/mold smell
 15
      emitting from the a/c system. Car is under warranty, dealership is just changing
 16
      parts in hopes of stumbling across the problem. To date they have changed the
 17
      cabin air filter and done the service bulletin on system clean-out, replaced the
 18
      condenser (left out some MAJOR, blue, 12 point bolts found under the mat). All
 19
      seat bolts are installed and are black in color. Anyway, now I notice a distinct mold
 20
      smell coming from the front, outside area of the car when it's parked in the garage. I
 21
      have been on my knees crawling all around the car and cannot nail the source. The
 22
      dealership service writer is useless as I probably could leave a voicemail for the
 23
      mechanic and probably do better. Car always garaged in Palm Beach area. Any
 24
      clues? Thanks.” peachparts.com (posted April 2007).
 25
      •           “I am going to start this by copying the information that I sent to the Nevada
 26
      DMW and to Mercedes corporate as well as the dealership. Mercedes WILL NOT
 27
      respond to our complaints and neither will the dealership. Here is a background on
 28

      1274226.8                                    - 28 -              CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 29 of 68 Page ID #:29



  1   this terrible car that is a big waste of money! We purchased the vehicle on
  2   December 3, 2011. On December 20, 2011, with only 648 miles on the vehicle, the
  3   vehicle had to be towed out of our garage due to an issue with the transmission. The
  4   transmission gave out. Had to be reassembled. On May 2, 2012, with 4,280 miles
  5   on the vehicle, we brought it in because of a terrible moldy, wet smell coming from
  6   the air vents. The air filter was removed, replaced and was put into the blowers. The
  7   AC system was also revitalized. The smell came back within two days. The
  8   dealership did not fix this problem.” Forum.edmunds.com (posted February 2013).
  9   •           “Visitor, 2006 Mercedes-Benz C230, 45,000 mi. Smelly mildew hvac.”
 10   Forum repairpal.com/mildew-in-heater-box-403
 11
      •           “The heating, ventilation and AC (HVAC) heater box is susceptible to
 12
      mildew buildup. This can result in a musty odor from the HVAC system, most
 13
      noticeable when the system is first turned on.” Forum repairpal.com/mildew-in-
 14
      heater-box-403
 15
 16   •           “We just dropped our 2015 ML 350 off at the dealership due to an extreme
 17   vinegar emmis[s]ion from the ac. The tech said it will be $330 to clean/flush and
 18   replace the filter as this issue is NOT covered under the bumper to bumper
 19   war[r]anty. Its a very common problem, apparently, as he gave us his very
 20   "rehearsed" answer as to why this happens. (The condensation has nowhere to
 21   escape and becomes moldy). He suggested we park it on a slope and that we should
 22   turn off the ac 5 mins before we arrive at our destination !
 23
      I dont think that we should have to babysit the ac in a luxury car! He also said that
 24
      ALL luxury cars have this issue. Well, we've owned Audi's, BMW's and Lexus
 25
      products all with NO ac issues. So I'm calling BS on Mercedes and I believe that
 26
      they have know about this issue for years and should be including this service cost
 27
 28

      1274226.8                                  - 29 -              CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 30 of 68 Page ID #:30



  1   in the waranty. Plus, from what I've read this will happen often, its not a 1 time
  2   fix.” Bbenzworld.org (posted February 2016)
  3
                   118. As shown by this small sampling of complaints from websites
  4
      such as www.mbworld.com, www.benzworld.com, www.repairpal.com,
  5
      www.answers.yahoo.com, www.mbca.org, www.edmunds.com, and repairpal.com
  6
      consumers have been vocal in complaining about the HVAC System Defects and
  7
      the damage being caused by these Defects. A multi-billion dollar vehicle
  8
      manufacturing company such as Mercedes undoubtedly had and has a marketing
  9
      department that tracks such sites and should reasonably have been aware of the
 10
      HVAC System Defect in the Class Vehicles.
 11
                   119. In sum, as early as 2008, and certainly well before Plaintiffs and
 12
      Class Members purchased or leased their Class Vehicles, Mercedes was aware of
 13
      the HVAC System Defect, should have been aware of the HVAC System Defect
 14
      through the exercise of reasonable care, and/or was negligent in failing to be aware
 15
      of the HVAC System Defect, based on, among others, the following sources:
 16
                   a.    Arbitration action against Mercedes related to the Defect;
 17
                   b.    Detailed data gathered by Mercedes about large number of
 18
      HVAC System Defect repairs;
 19
                   c.    Knowledge Mercedes had of the large number of replacement
 20
      HVAC Systems ordered from Mercedes;
 21
                   d.    Numerous and consistent vehicle owner complaints made
 22
      directly to Mercedes about the HVAC System Defect;
 23
                   e.    Numerous and consistent vehicle owner complaints collected by
 24
      NHTSA ODI about the HVAC System Defect;
 25
                   f.    Numerous and consistent vehicle owner complaints made on
 26
      online vehicle owner forums;
 27
 28

      1274226.8                               - 30 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 31 of 68 Page ID #:31



  1               g.     Service bulletins sent by Mercedes to its dealerships evincing
  2   knowledge of ongoing issues with HVAC Systems in the Class Vehicles; and
  3               h.     Mercedes service center employees’ familiarity with and
  4   knowledge of the HVAC System Defect.
  5               120. Moreover, the large number and consistency of Class Member
  6   complaints describing the HVAC System Defect’s propensity to cause a moldy
  7   odor to emit from the air-conditioning underscores the fact that Class Members
  8   considered the HVAC System Defect to be a material issue to the reasonable
  9   consumer.
 10                                7.Applicable Warranties
 11               121. Mercedes sold Class Vehicles with a New Vehicle Limited
 12   warranty which included, among other warranties, protections against
 13               DEFECTS: Mercedes-Benz USA, LLC (MBUSA) warrants to
                  the original and each subsequent owner of a new Mercedes
 14
                  Benz vehicle that any authorized Mercedes-Benz Center will
 15               make any repairs or replacements necessary, to correct defects
                  in material or workmanship arising during the warranty period.
 16
                  …
 17               This warranty is for 48 months or 50,000 miles, whichever
 18               occurs first.”
 19               … Warranty repairs will be made at no charge for parts and
                  labor.
 20
                  122. Mercedes represents that its Certified Pre-Owned (“CPO”)
 21
      vehicles “are backed by one of the most comprehensive certified pre-owned
 22
      warranties available.” The program includes a warranty for 12 months or up to
 23
      100,000 total accumulated vehicles miles. Mercedes represents that its CPO
 24
      vehicles are factory backed and the limited warranty provides up to five years or
 25
      100,000 total vehicle accumulated miles of coverage. Both Mercedes’s new vehicle
 26
      Limited Warranty and Certified Pre-Owned Limited Warranty and Extended
 27
 28

      1274226.8                              - 31 -              CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 32 of 68 Page ID #:32



  1   Warranty extend coverage to the climate control system, which includes the HVAC
  2   system.
  3                123. Based on Plaintiffs’ experiences and reports from other
  4   consumers, Mercedes refuses to cover the nonpermanent “fixes” (changing the filter
  5   and flushing the System) under warranty, and instead requires Class Members pay
  6   out of pocket for these nonpermanent “fixes” for the HVAC System Defect even if
  7   Class Members’ vehicle remained under warranty at the time.
  8                        8.Mercedes’s Marketing and Concealment
  9                124. Upon information and belief, Mercedes knowingly
 10   manufactured and sold the Class Vehicles with the HVAC System Defect, while
 11   willfully concealing the true inferior quality and sub-standard performance of the
 12   Class Vehicles HVAC Systems.
 13                125. Mercedes directly markets the Class Vehicles to consumers via
 14   extensive nationwide, multimedia advertising campaigns on television, the Internet,
 15   billboards, print publications, mailings, and through other mass media.
 16                126. Mercedes’s marketing material describes the various Class
 17   Vehicles as “state-of-the-art,” “luxury,” “fine craftsmanship,” and “the most
 18   advanced vehicles on the road.” Mercedes slogan for its vehicles is “the best or
 19   nothing.”
 20                127. Although Mercedes knew of the need to disinfect the climate
 21   control systems in Class Vehicles to mitigate the growth of Mold and curb foul
 22   odors, it failed to notify Plaintiff’s and Class Members of this requirement prior to
 23   their purchase of the vehicle. Thus, misrepresenting the maintenance requirements
 24   of Class Vehicles.
 25                128. Mercedes also touts “a rigorous 27-point service checklist to
 26   keep your Mercedes-Benz running effortlessly for the next 10,000,” implying that
 27   Class Vehicles will require less-frequent maintenance than other vehicles. This 27-
 28

      1274226.8                               - 32 -              CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 33 of 68 Page ID #:33



  1   point service checklist includes pre-road test checks of the air cleaner/filter and
  2   climate control system.
  3                129. Mercedes marketing materials advertised the vehicles as
  4   ‘enjoyable’ to ‘everyone’ and ‘soothing’ and “filters dust and pollen as small as
  5   0.0002" from the air. It also promoted videos stating its vehicles are “engineering
  6   excellence” and “an automotive masterpiece.” Furthermore, it stated, “Soothing.
  7   Standard dual-zone automatic climate control allows the driver and front passenger
  8   to enjoy individualized comfort in any season. The system filters dust and pollen
  9   from the cabin, while a sensor monitors the angle and intensity of sunlight for more
 10   even control of temperature.” This led Plaintiffs and Class Members to form a
 11   reasonable belief and expectation that mold/mildew and foul smells would not
 12   emanate from the vehicle if contained in the air and certainly caused the reasonable
 13   consumer not to expect that the vehicle itself would harbor and facilitate the growth
 14   of organic materials regularly giving rise to foul odors making the use of Class
 15   Vehicles anything but soothing or enjoyable.
 16                130. Further, Mercedes represents that its Certified Pre Owned
 17   vehicles must “meet stringent criteria and pass a rigorous inspection.” This
 18   certification process involves a 164-point inspection, which includes a test of
 19   “Automatic Climate Control Function, Regulation, Display, Odors.” Mercedes
 20   promises that CPO vehicle purchasers “get industry-leading coverage.”
 21                131. According to its consumer brochures, “[t]he Mercedes-Benz
 22   Certified Pre Owned vehicle offers safety, performance and reliability.” Vehicles
 23   that have been Certified Pre-Owned purportedly have passed a thorough
 24   certification inspection. According to its CPO consumer brochure, all Mercedes
 25   CPO vehicles undergo a “climate control inspection” during a road test conducted
 26   by a Mercedes-Benz technician and “[a]ny noted deficiencies are repaired, replaced
 27   or reconditioned” before the vehicle is sold.
 28

      1274226.8                               - 33 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 34 of 68 Page ID #:34



  1                132. In practice, the Class Vehicles are not as comfortable or
  2   enjoyable as Mercedes’s marketing suggests. Mercedes concealed the fact that the
  3   so-called “Luxury” Class Vehicles, which supposedly are “the most advanced
  4   vehicles on the road,” are instead not even comfortable or enjoyable under ordinary
  5   conditions because the HVAC Systems repeatedly and consistently emit foul moldy
  6   odors into the passenger cabin.
  7                133. Mercedes marketed Class Vehicles and Mercedes Pre Paid
  8   Maintenance Plans with service intervals it knew or should have known that class
  9   vehicles could not and were not capable of lasting the stated service intervals
 10   without exhibiting foul odors or smells.
 11                134. Plaintiffs and Class Members were exposed to Mercedes’s long-
 12   term, national, multimedia marketing campaign touting the supposed sophistication
 13   and comfort of the Class Vehicles, and Class Members justifiably made their
 14   decisions to purchase/lease their Class Vehicles based on Mercedes’s misleading
 15   marketing that concealed the true, defective nature of the Class Vehicles’ HVAC
 16   Systems.
 17                135. Further, Mercedes knowingly misled Class Members about the
 18   true, defective nature of the Class Vehicles. As detailed above, upon information
 19   and belief, Mercedes has been aware of the HVAC System Defect since at least
 20   2008, and certainly well before Plaintiffs and Class Members purchased or leased
 21   their Class Vehicles, through arbitration action, the high number of HVAC System
 22   repairs and replacement part sales, and the numerous and consistent complaints
 23   about the HVAC System Defect made directly to Mercedes, collected by NHTSA
 24   and posted in public online forums.
 25                136. Despite Mercedes’s knowledge of the Defect, Mercedes told
 26   Class Members who called its customer service about the HVAC System Defect
 27   that Mercedes had never heard of the problem before and that no others had
 28   reported issues with their vehicles’ HVAC Systems.

      1274226.8                              - 34 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 35 of 68 Page ID #:35



  1                137. In sum, Mercedes has actively concealed the existence and
  2   nature of the HVAC System Defect from Class Members since at least 2008 despite
  3   its knowledge of the existence and pervasiveness of the HVAC System Defect, and
  4   certainly well before Plaintiffs and Class Members purchased or leased their Class
  5   Vehicles. Specifically, Mercedes has:
  6                a.      Failed to disclose, at and after the time of purchase, lease, and/or
  7   repair, any and all known material defects of the Class Vehicles, including the
  8   HVAC System Defect;
  9                b.      Failed to disclose, at and after the time of purchase, lease, and/or
 10   repair, that the Class Vehicles’ HVAC Systems were defective and not fit for their
 11   intended purposes;
 12                c.      Failed to disclose, and actively concealed, the fact that the Class
 13   Vehicles’ HVAC Systems were defective, despite the fact that Mercedes learned of
 14   the HVAC System Defect as early as 2008, and certainly well before Plaintiffs and
 15   Class Members purchased or leased their Class Vehicles;
 16                d.      Failed to disclose, and actively concealed, the existence and
 17   pervasiveness of the HVAC System Defect even when directly asked about it by
 18   Class Members during communications with Mercedes, Mercedes Customer Care,
 19   Mercedes dealerships, and Mercedes service centers;
 20                e.      Actively concealed the HVAC System Defect by forcing Class
 21   Members to bear the cost of temporary “fixes” of replacing the Cabin Air Filter or
 22   “flushing the system”, while at the same time replacing cabin air filters at no (or
 23   lower) cost for those who complained vocally and often, and calling these
 24   “goodwill” replacements;
 25                f.      Actively concealed the HVAC System Defect by consistently
 26   treating the mold and odors by replacing the cabin air filter while leaving the
 27   defective HVAC Systems as is, so that the HVAC System Defect is not
 28   permanently corrected in Class Members’ vehicles, even though Class Members

      1274226.8                                - 35 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 36 of 68 Page ID #:36



  1   were led to believe that the replacement had cured the moldy odor problem in their
  2   vehicles; and
  3                g.     Actively concealed the HVAC System Defect by knowingly
  4   selling and installing replacement cabin air filters in Class Members’ vehicles,
  5   while knowing and concealing that the replacements would likely soon exhibit the
  6   mold formation and foul, noxious odors because the HVAC Systems, the source of
  7   the mold and odors, remained defective, and that by only replacing the cabin air
  8   filter, Mercedes forced Class Members to repeatedly repair their Class Vehicles.
  9                138. By engaging in the conduct described above, Mercedes has
 10   concealed, and continues to conceal, the HVAC System Defect from Class
 11   Members. If Class Members had knowledge of the information Mercedes
 12   concealed, they would have factored the existence of the HVAC System Defect into
 13   their decision to purchase/lease (or not to purchase/lease) the Class Vehicles.
 14                          9.Fraudulent Concealment Allegations
 15                139. Absent discovery, Plaintiffs are unaware of, and unable through
 16   reasonable investigation to obtain, the true names and identities of those individuals
 17   at Mercedes responsible for disseminating false and misleading marketing materials
 18   regarding the Class Vehicles. Mercedes necessarily is in possession of all of this
 19   information. Plaintiffs’ claims arise out of Mercedes’s fraudulent concealment of
 20   the HVAC System Defect and the foul moldy air it causes, and its representations
 21   about the quality, world-class quality, sophistication, state-of-the-art performance
 22   and comfort of the Class Vehicles’ HVAC Systems. To the extent that Plaintiffs’
 23   claims arise from Mercedes’s fraudulent concealment, there is no one document or
 24   communication, and no one interaction, upon which Plaintiffs bases their claims.
 25   Plaintiffs allege that at all relevant times, including specifically at the time they
 26   purchased or leased their Class Vehicles, Mercedes knew, or was reckless in not
 27   knowing, of the HVAC System Defect; Mercedes was under a duty to disclose the
 28   Defect based upon its exclusive knowledge of it, its affirmative representations

      1274226.8                                - 36 -                CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 37 of 68 Page ID #:37



  1   about it, and its concealment of it; and Mercedes never disclosed the Defect to the
  2   Plaintiffs or the public at any time or place or in any manner.
  3                140. Plaintiffs make the following specific fraud allegations with as
  4   much specificity as possible absent access to the information necessarily available
  5   only to Mercedes:
  6                a.     Who: Mercedes actively concealed the HVAC System Defect
  7   from Plaintiffs and Class Members while simultaneously touting the safety,
  8   comfort, sophistication, and world-class quality of the Class Vehicles, as alleged in
  9   paragraphs 124-138, above. Plaintiffs are unaware of, and therefore unable to
 10   identify, the true names and identities of those specific individuals at Mercedes
 11   responsible for such decisions.
 12                b.     What: Mercedes knew, or was reckless or negligent in not
 13   knowing, that the Class Vehicles contain the HVAC System Defect, as alleged
 14   above in paragraphs 87, 93-120. Mercedes concealed the Defect and made
 15   representations about the safety, comfort, sophistication, and world-class quality,
 16   and other attributes of the Class Vehicles, as specified above in paragraphs 124-
 17   138.
 18                c.     When: Mercedes concealed material information regarding the
 19   Defect at all times and made representations about the world-class quality,
 20   sophistication, state-of-the-art safety and comfort of the Class Vehicles, starting no
 21   later than 2008, or at the subsequent introduction of certain models of Class
 22   Vehicles to the market, continuing through the time of sale/lease, and on an
 23   ongoing basis, and continuing to this day, as alleged above in paragraphs 124-138.
 24   Mercedes has not disclosed the truth about the Defect in the Class Vehicles to
 25   anyone outside of Mercedes. Mercedes has never taken any action to inform
 26   consumers about the true nature of the Defect in Class Vehicles. And when
 27   consumers brought their Vehicles to Mercedes complaining of the foul moldy
 28   odors, Mercedes denied any knowledge of or responsibility for the HVAC System

      1274226.8                               - 37 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 38 of 68 Page ID #:38



  1   Defect, and in many instances, actually blamed the owner for causing the
  2   odor/problem.
  3                d.     Where: Mercedes concealed material information regarding the
  4   true nature of the Defect in every communication it had with Plaintiffs and Class
  5   Members and made representations about the world-class quality, sophistication,
  6   state-of-the-art safety and comfort of the Class Vehicles. Plaintiffs are aware of no
  7   document, communication, or other place or thing, in which Mercedes disclosed the
  8   truth about the Defect in the Class Vehicles to anyone outside of Mercedes. Such
  9   information is not adequately disclosed in any sales documents, displays,
 10   advertisements, warranties, owner’s manual, or on Mercedes’s website.
 11                e.     How: Mercedes concealed the HVAC System Defect from
 12   Plaintiffs and Class Members and made representations about the world-class
 13   quality, sophistication, state-of-the-art safety and comfort of the Class Vehicles.
 14   Mercedes actively concealed the truth about the existence and nature of the Defect
 15   from Plaintiffs and Class Members at all times, even though it knew about the
 16   Defect and knew that information about the Defect would be important to a
 17   reasonable consumer and Mercedes promised in its marketing materials that Class
 18   Vehicles have qualities that they do not have.
 19                f.     Why: Mercedes actively concealed material information about
 20   the Defect in Class Vehicles for the purpose of inducing Plaintiffs and Class
 21   Members to purchase and/or lease Class Vehicles, rather than purchasing or leasing
 22   competitors’ vehicles and made representations about the world-class quality,
 23   sophistication, state-of-the-art safety and comfort of the Class Vehicles. Had
 24   Mercedes disclosed the truth, for example in its advertisements or other materials or
 25   communications, Plaintiffs (and reasonable consumers) would have been aware of
 26   it, and would not have bought the Class Vehicles or would have paid less for them.
 27
 28

      1274226.8                               - 38 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 39 of 68 Page ID #:39



  1                10.TOLLING OF THE STATUTE OF LIMITATIONS
  2                           11.Fraudulent Concealment Tolling
  3                141. Upon information and belief, Mercedes has known of the
  4   HVAC System Defect in the Class Vehicles since at least 2008, and certainly well
  5   before Plaintiffs and Class Members purchased or leased their Class Vehicles, and
  6   has concealed from or failed to notify Plaintiffs, Class Members, and the public of
  7   the full and complete nature of the HVAC System Defect, even when directly asked
  8   about it by Class Members during communications with Mercedes, Mercedes
  9   Customer Care, Mercedes dealerships, and Mercedes service centers. Mercedes
 10   continues to conceal the Defect to this day.
 11                142. Any applicable statute of limitation has been tolled by
 12   Mercedes’s knowledge, active concealment, and denial of the facts alleged herein,
 13   which behavior is ongoing.
 14                                        12.Estoppel
 15                143. Mercedes was and is under a continuous duty to disclose to
 16   Plaintiffs and Class Members the true character, quality, and nature of the Class
 17   Vehicles. Mercedes actively concealed – and continues to conceal – the true
 18   character, quality, and nature of the Class Vehicles and knowingly made
 19   representations about the quality, world-class quality, sophistication, state-of-the-art
 20   safety and comfort of the Class Vehicles. Plaintiffs and Class Members reasonably
 21   relied upon Mercedes’s knowing and affirmative representations and/or active
 22   concealment of these facts. Based on the foregoing, Mercedes is estopped from
 23   relying on any statutes of limitation in defense of this action.
 24                                     13.Discovery Rule
 25                144. The causes of action alleged herein did not accrue until
 26   Plaintiffs and Class Members discovered that their Class Vehicles contained the
 27   HVAC System Defect.
 28

      1274226.8                                - 39 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 40 of 68 Page ID #:40



  1                145. However, Plaintiffs and Class Members had no realistic ability
  2   to discern that the Class Vehicles were defective until – at the earliest – after the
  3   HVAC System Defect caused their vehicles to develop mold and emit foul, noxious
  4   odors. Even then, Plaintiffs and Class Members had no reason to know the foul
  5   moldy odors were caused by a defect in the Class Vehicles because of Mercedes’s
  6   active concealment of the HVAC System Defect. Not only did Mercedes fail to
  7   notify Plaintiffs or Class Members about the HVAC System Defect, Mercedes in
  8   fact denied any knowledge of or responsibility for the HVAC System Defect when
  9   directly asked about it, and in many instances, actually blamed the owner for
 10   causing the odor/problem. Thus Plaintiffs and Class Members were not reasonably
 11   able to discover the HVAC System Defect until after they had purchased or leased
 12   the Class Vehicles, despite their exercise of due diligence, and their causes of action
 13   did not accrue until they discovered that the HVAC System Defect caused their
 14   Vehicles to form mold and emit foul, noxious odors.
 15                         14.CLASS ACTION ALLEGATIONS
 16                146. Plaintiffs bring this lawsuit as a class action on behalf of
 17   themselves and all other Class Members similarly situated pursuant to Federal
 18   Rules of Civil Procedure 23(a) and (b)(3), (b)(2), and/or (c)(4). This action satisfies
 19   the numerosity, commonality, typicality, adequacy, predominance, and superiority
 20   requirements of those provisions.
 21                147. Plaintiffs bring this class action on behalf of themselves and all
 22   other similarly situated members of the proposed Class, defined as follows:
 23                All persons in the United States who purchased or leased
 24                a Class Vehicle with the HVAC System.
 25
 26                148. In the alternative, Plaintiffs propose the following Classes:

 27                California Class: All residents of California (and states
 28                with similar laws) who purchased or leased a Class

      1274226.8                                - 40 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 41 of 68 Page ID #:41



  1                Vehicle with the HVAC System.
  2                Georgia Class: All residents of Georgia (and states with
  3                similar laws) who purchased or leased a Class Vehicle
  4                with the HVAC System.
  5
                   149. Excluded from the Class are: (1) Mercedes, any entity or
  6
      division in which Mercedes has a controlling interest, and its legal representatives,
  7
      officers, directors, assigns, and successors; (2) the Judge to whom this case is
  8
      assigned and the Judge’s staff; (3) governmental entities; and (4) those persons who
  9
      have suffered personal injuries as a result of the facts alleged herein. Plaintiffs
 10
      reserve the right to amend the Class definitions if discovery and further
 11
      investigation reveal that the Classes should be expanded, otherwise divided into
 12
      subclasses, or modified in any other way.
 13
                                          15.Numerosity
 14
                   150. Although the exact number of Class Members is uncertain and
 15
      can only be ascertained through appropriate discovery, the number is great enough
 16
      such that joinder is impracticable. The disposition of the claims of these Class
 17
      Members in a single action will provide substantial benefits to all parties and to the
 18
      Court. Class Members are readily identifiable from information and records in
 19
      Mercedes’s possession, custody, or control, as well as from records kept by the
 20
      Department of Motor Vehicles.
 21
                                           16.Typicality
 22
                   151. The claims of the representative Plaintiffs are typical of the
 23
      claims of Class Members in that the representative Plaintiffs, like all Class
 24
      Members, purchased or leased a Class Vehicle designed, manufactured, and
 25
      distributed by Mercedes. The representative Plaintiffs, like all Class Members, have
 26
      been damaged by Mercedes’s misconduct in that they have purchased a Vehicle
 27
      they would not have purchased, or would not have purchased at the price paid, and
 28

      1274226.8                                - 41 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 42 of 68 Page ID #:42



  1   have incurred or will incur the cost of repairs relating to and caused by the HVAC
  2   System Defect. Furthermore, the factual bases of Mercedes’s misconduct are
  3   common to all Class Members and represent a common thread of misconduct
  4   resulting in injury to all Class Members.
  5                               17.Adequate Representation
  6                152. Plaintiffs will fairly and adequately represent and protect the
  7   interests of their respective Class Members. Plaintiffs have retained counsel with
  8   substantial experience in prosecuting consumer class actions, including actions
  9   involving defective vehicles.
 10                153. Plaintiffs and their counsel are committed to vigorously
 11   prosecuting this action on behalf of the Classes, and have the financial resources to
 12   do so. Neither Plaintiffs nor their counsel has interests adverse to those of the
 13   Classes.
 14                          18.Predominance of Common Issues
 15                154. There are numerous questions of law and fact common to
 16   Plaintiffs and Class Members that predominate over any question affecting only
 17   individual Class Members, the answer to which will advance resolution of the
 18   litigation as to all Class Members. These common legal and factual issues include:
 19                a.     whether the HVAC System in the Class Vehicles is defective;
 20                b.     whether Mercedes knew or should have known about the HVAC
 21   System Defect, and, if yes, how long Mercedes has known of the defect;
 22                c.     whether the defective nature of the Class Vehicles constitutes a
 23   material fact reasonable consumers would have considered in deciding whether to
 24   purchase a Class Vehicle;
 25                d.     whether Mercedes has a duty to disclose the defective nature of
 26   the Class Vehicles to Plaintiffs and Class Members;
 27                e.     whether Mercedes omitted and failed to disclose material facts
 28   about the Class Vehicles;

      1274226.8                               - 42 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 43 of 68 Page ID #:43



  1                 f.    whether Mercedes’s concealment of the true defective nature of
  2   the Class Vehicles induced Plaintiffs and Class Members to act to their detriment
  3   by purchasing Class Vehicles;
  4                 g.    whether Mercedes represented, through its words and conduct,
  5   that the Class Vehicles had characteristics, uses, or benefits that they did not
  6   actually have, in violation of California’s Consumer Legal Remedies Act
  7   (“CLRA”);
  8                 h.    whether Mercedes represented, through its words and conduct,
  9   that the Class Vehicles were of a particular standard, quality, or grade when they
 10   were of another, in violation of the CLRA;
 11                 i.    whether Mercedes advertised the Class Vehicles with the intent
 12   not to sell them as advertised, in violation of the CLRA;
 13                 j.    whether Mercedes’s affirmative misrepresentations about the
 14   true defective nature of the Class Vehicles were likely to mislead or deceive, and
 15   therefore fraudulent, within the meaning of California’s Unfair Competition Law
 16   (UCL);
 17                 k.    whether Mercedes’s affirmative misrepresentations about the
 18   true defective nature of the Class Vehicles were and are unfair within the meaning
 19   of the UCL;
 20                 l.    whether Mercedes represented, through its words and conduct,
 21   that the Class Vehicles had characteristics, uses, or benefits that they did not
 22   actually have, in violation of Georgia’s Fair Business Practices Act (“Georgia
 23   FBPA”);
 24                 m.    whether Mercedes represented, through its words and conduct,
 25   that the Class Vehicles were of a particular standard, quality, or grade when they
 26   were of another, in violation of the Georgia FBPA;
 27                 n.    whether Mercedes advertised the Class Vehicles with the intent
 28   not to sell them as advertised, in violation of the Georgia FBPA;

      1274226.8                               - 43 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 44 of 68 Page ID #:44



  1                o.     whether Mercedes’s affirmative misrepresentations about the
  2   true defective nature of the Class Vehicles were likely to create confusion or
  3   misunderstanding, and therefore fraudulent, within the meaning of Georgia’s
  4   Uniform Deceptive Trade Practices Act (“Georgia UDTPA”).
  5                p.     whether Mercedes’s affirmative misrepresentations about the
  6   true defective nature of the Class Vehicles were and are deceptive within the
  7   meaning of the Georgia UDTPA.
  8                q.     whether the Class Vehicles were unfit for the ordinary purposes
  9   for which they were used, in violation of the implied warranty of merchantability;
 10                r.     whether Plaintiffs and the other Class Members are entitled to a
 11   declaratory judgment stating that the HVAC Systems in Class Vehicles are
 12   defective and/or not merchantable;
 13                s.     whether Plaintiffs and the other Class Members are entitled to
 14   equitable relief, including, but not limited to, a preliminary and/or permanent
 15   injunction; and
 16                t.     whether Mercedes should be declared financially responsible for
 17   notifying all Class Members of the problems with the Class Vehicles and for the
 18   costs and expenses of permanently remedying the HVAC System Defect in the
 19   Class Vehicles; and
 20                u.     whether Mercedes is obligated to inform Class Members of their
 21   right to seek reimbursement for having paid to diagnose, repair, or replace the
 22   defective HVAC Systems.
 23                                      19.Superiority
 24                155. Plaintiffs and Class Members have all suffered and will continue
 25   to suffer harm and damages as a result of Mercedes’s unlawful and wrongful
 26   conduct. A class action is superior to other available methods for the fair and
 27   efficient adjudication of this controversy.
 28

      1274226.8                               - 44 -              CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 45 of 68 Page ID #:45



  1                   156. Absent a class action, most Class Members would likely find the
  2   cost of litigating their claims prohibitively high and would therefore have no
  3   effective remedy at law. Because of the relatively small size of the individual Class
  4   Members’ claims, it is likely that only a few Class Members could afford to seek
  5   legal redress for Mercedes’s misconduct. Absent a class action, Class Members will
  6   continue to incur damages, and Mercedes’s misconduct will continue without
  7   remedy.
  8                   157. Class treatment of common questions of law and fact would also
  9   be a superior method to multiple individual actions or piecemeal litigation in that
 10   class treatment will conserve the resources of the courts and the litigants, and will
 11   promote consistency and efficiency of adjudication.
 12
 13                                FIRST CAUSE OF ACTION
 14               (Violation of California’s Consumer Legal Remedies Act (“CLRA”),
                                     Cal. Civ. Code § 1750, et seq.)
 15
 16                   158. Plaintiffs incorporate by reference each allegation set forth in
 17   the preceding paragraphs.
 18                   159. Plaintiffs Manan Bhatt and Lisa Ruh bring this cause of action
 19   for themselves and on behalf of California Class Members.
 20                   160. Mercedes is a “person” as defined by the CLRA. Cal. Civ. Code
 21   § 1761(c).
 22                   161. Plaintiffs and California Class Members are “consumers” within
 23   the meaning of the CLRA. Cal. Civ. Code § 1761(d).
 24                   162. The purchases of Class Vehicles and the warranties by Plaintiffs
 25   and Class Members constitute “transactions” as defined by the CLRA. Cal. Civ.
 26   Code § 1761(e).
 27                   163. The Class Vehicles and the warranties constitute “goods” or
 28   “services” as defined by the CLRA. Cal. Civ. Code §1761(a) and (b).

      1274226.8                                 - 45 -              CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 46 of 68 Page ID #:46



  1                164. Plaintiffs and Class Members purchased the Class Vehicles and
  2   the warranties for personal, family, and household purposes as meant by the CLRA.
  3   Cal. Civ. Code § 1761(d).
  4                165. Mercedes’s affirmative misrepresentations, active concealment,
  5   failures to disclose, and omissions regarding the Class Vehicles and the warranties
  6   violated the CLRA in the following ways:
  7                a.     Mercedes misrepresented that the Class Vehicles and the
  8   warranties had characteristics, benefits, or uses that they did not have (Cal. Civ.
  9   Code § 1770(a)(5));
 10                b.     Mercedes misrepresented that the Class Vehicles and the
 11   warranties were of a particular standard, quality, or grade when they were of
 12   another (Cal. Civ. Code § 1770(a)(7));
 13                c.     Mercedes advertised the Class Vehicles and the warranties with
 14   an intent not to sell them as advertised (Cal. Civ. Code § 1770(a)(9));
 15                d.     Mercedes misrepresented that the Class Vehicles and the
 16   warranties conferred or involved rights, remedies, or obligations that they did not
 17   have (Cal. Civ. Code § 1770(a)(14)); and
 18                e.     Mercedes misrepresented that the Class Vehicles and the
 19   warranties were supplied in accordance with previous representations when they
 20   were not (Cal. Civ. Code § 1770(a)(16)).
 21                166. Mercedes’s unfair and deceptive acts or practices occurred
 22   repeatedly in Mercedes’s course of trade or business, were material, were capable
 23   of deceiving a substantial portion of the purchasing public, and as a result, caused
 24   economic harm on owners and purchasers of the Class Vehicles.
 25                167. Mercedes knew, by 2008 at the latest, and certainly before the
 26   sale or lease of the Class Vehicles, that the Class Vehicles’ HVAC Systems
 27   suffered from an inherent defect, were defectively designed or manufactured, would
 28

      1274226.8                                - 46 -              CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 47 of 68 Page ID #:47



  1   exhibit problems such as mold growth and the emission of foul and noxious odors,
  2   and were not suitable for their intended use.
  3                168. By 2008 at the latest, Mercedes had exclusive knowledge of
  4   material facts concerning the existence of the HVAC System Defects in its Class
  5   Vehicles. Furthermore, Mercedes actively concealed these defects from consumers
  6   by denying the existence of the defects to Class Members who contacted Mercedes
  7   about the moldy smell, failing to issue a service advisory and/or recall and failing to
  8   offer Class members a permanent solution to the HVAC System Defect.
  9                169. Mercedes was under a duty to Plaintiffs and Class Members to
 10   disclose the defective nature of the HVAC Systems, as well as the associated costs
 11   that would have to be repeatedly expended in order to repair the Class Vehicles due
 12   to the HVAC System Defect, because:
 13                a.      Mercedes was in a superior position to know the true state of
 14   facts about the HVAC System Defect in the Class Vehicles;
 15                b.      Plaintiffs and Class Members could not reasonably have been
 16   expected to learn or discover that the Class Vehicles had the HVAC System Defect
 17   until, at the earliest, the manifestation of the Defect; and
 18                c.      Mercedes knew that Plaintiffs and Class Members could not
 19   reasonably have been expected to learn or discover the HVAC System Defect prior
 20   to its manifestation.
 21                170. In failing to disclose the defective nature of the Class Vehicles,
 22   Mercedes knowingly and intentionally concealed material facts and breached its
 23   duty not to do so.
 24                171. The facts concealed or not disclosed by Mercedes to Plaintiffs
 25   and Class Members are material in that a reasonable consumer would have
 26   considered them to be important in deciding whether or not to purchase or lease a
 27   Class Vehicle. Moreover, a reasonable consumer would consider the HVAC
 28   System Defect to be an undesirable quality, as Plaintiffs and Class Members did.

      1274226.8                                - 47 -                CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 48 of 68 Page ID #:48



  1   Had Plaintiffs and other Class Members known that the Class Vehicles had the
  2   HVAC System Defect, they would not have purchased or leased a Class Vehicle, or
  3   would not have done so at the price paid.
  4                172. Plaintiffs and Class Members are reasonable consumers who did
  5   not expect their Class Vehicles to experience a HVAC System Defect. It is a
  6   reasonable and objective consumer expectation for consumers to expect the HVAC
  7   System not to cause the growth of mold and mildew within the System or emit
  8   moldy and noxious odors through the HVAC System vents.
  9                173. As a result of Mercedes’s misconduct, Plaintiffs and Class
 10   Members have been harmed and have suffered actual damages in that the Class
 11   Vehicles repeatedly manifest mold growth and emit foul smells due to the HVAC
 12   System Defect, causing inconvenience, creating an uncomfortable environment for
 13   vehicle occupants, and causing Class Members to spend money, even when the
 14   Vehicle was still under warranty, to repeatedly repair or temporarily fix the
 15   recurring odors caused by the Defect.
 16                174. As a direct and proximate result of Mercedes’s unfair or
 17   deceptive acts or practices, Plaintiffs and Class Members have suffered and will
 18   continue to suffer actual damages in that they have experienced and may continue
 19   to experience their Class Vehicles’ HVAC Systems growing mold and emitting
 20   noxious odors, for which there is no permanent fix.
 21                175. Plaintiffs and the Class are entitled to equitable relief.
 22                176. Mercedes received proper notice of its alleged violations of the
 23   CLRA pursuant to Cal. Civ. Code § 1782(a), via a letter sent to Mercedes and its
 24   registered service agent on August 17, 2015, on behalf of Plaintiff Manan Bhatt and
 25   all others similarly situated. Mercedes failed to provide the appropriate relief for its
 26   violation of the CLRA within 30 days of the date of the notification letter. The
 27   notice letter is attached hereto as Exhibit D.
 28

      1274226.8                                - 48 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 49 of 68 Page ID #:49



  1                 177. Thus, pursuant to Cal. Civ. Code §§ 1780(a), 1780(e), and
  2   1782(a), Plaintiffs seek, in addition to equitable relief, actual damages, restitution,
  3   punitive damages, attorneys’ fees and costs, and any other relief the Court deems
  4   proper.
  5                             SECOND CAUSE OF ACTION
  6         (Violation of California’s Unfair Competition Law, Cal. Bus. & Prof. Code
                                         § 17200, et seq.)
  7
  8                 178. Plaintiffs hereby incorporate by reference the allegations
  9   contained in the preceding paragraphs of this Complaint.
 10                 179. Plaintiffs Manan Bhatt and Lisa Ruh bring this cause of action
 11   for themselves and on behalf of California Class Members.
 12                 180. California Business & Professions Code § 17200 prohibits acts
 13   of “unfair competition,” including any “unlawful, unfair or fraudulent business act
 14   or practice” and “unfair, deceptive, untrue or misleading advertising.” Mercedes
 15   engaged in conduct that violated each of this statute’s three prongs.
 16                 181. Mercedes committed an unlawful business act or practice in
 17   violation of Cal. Bus. & Prof. Code § 17200, et seq., by systematically breaching its
 18   warranty obligations and by violating the CLRA and the Song-Beverly Consumer
 19   Warranty Act as alleged in Paragraphs 159 – 178, above.
 20                 182. Mercedes committed unfair business acts and practices in
 21   violation of Cal. Bus. & Prof. Code § 17200, et seq., because the acts and practices
 22   described herein, including but not limited to Mercedes’s failure to provide a
 23   permanent remedy to fix the HVAC System Defect, were immoral, unethical,
 24   oppressive, unscrupulous, unconscionable, and/or substantially injurious to
 25   Plaintiffs and Class Members. Mercedes’s acts and practices were additionally
 26   unfair because the harm to Plaintiffs and Class Members is substantial and is not
 27   outweighed by any countervailing benefits to consumers or competition. Further,
 28

      1274226.8                                - 49 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 50 of 68 Page ID #:50



  1   Mercedes’s acts and practices were unfair in that they were contrary to legislatively
  2   declared or public policy.
  3                    183. Mercedes committed fraudulent business acts and practices in
  4   violation of Cal. Bus. & Prof. Code § 17200, et seq., when it concealed the
  5   existence and nature of the HVAC System Defect, while representing in its
  6   marketing, advertising, and other broadly disseminated representations that the
  7   Class Vehicles were “comfortable,” “state of the art,” and manufactured to be the
  8   “most advanced vehicles on the road” when, in fact, they are not. Mercedes’s
  9   representations and active concealment of the Defect are likely to mislead the
 10   public with regard to the true defective nature of the Class Vehicles.
 11                    184. Mercedes’s unfair or deceptive acts or practices occurred
 12   repeatedly in the course of Mercedes’s trade or business, and were likely to mislead
 13   a substantial portion of the purchasing public.
 14                    185. Plaintiffs relied on Mercedes’s material misrepresentations and
 15   nondisclosures, and would not have purchased, or would have paid less money for,
 16   the Class Vehicles had they known the truth.
 17                    186. As a direct and proximate result of Mercedes’s unfair, unlawful,
 18   and deceptive practices, Plaintiffs have lost money or property.
 19                    187. Plaintiffs and Class Members seek an order enjoining Mercedes
 20   from committing such unlawful, unfair, and fraudulent business practices, and seek
 21   restitution pursuant to Cal. Bus. & Prof. Code § 17203. Plaintiffs also seek
 22   attorneys’ fees and costs under Cal. Code Civ. Proc. § 1021.5.
 23                                    THIRD CAUSE OF ACTION
 24               (Breach of Implied Warranty Under Song-Beverly Consumer Warranty Act)
 25                    188. Plaintiffs incorporate by reference each allegation set forth in
 26   the preceding paragraphs.
 27                    189. Mercedes’s Class Vehicles are “consumer goods” within the
 28   meaning of Civil Code § 1791(a).

      1274226.8                                  - 50 -              CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 51 of 68 Page ID #:51



  1                 190. Mercedes is a “manufacturer” within the meaning of Civil Code
  2   § 1791(j).
  3                 191. Plaintiffs and California Class members who purchased or
  4   leased their Class Vehicles within the State of California and are “buyers” within
  5   the meaning of Cal. Civ. Code § 1791(b).
  6                 192. Mercedes impliedly warranted to Plaintiffs and the California
  7   Class members that its Vehicles were “merchantable” within the meaning of Cal.
  8   Civ. Code §§ 1791.1(a) and 1792.
  9                 193. Mercedes impliedly warranted to Plaintiffs and the California
 10   Class Members that it would repair or replace any defective products, including the
 11   defective HVAC System that produces the moldy odor.
 12                 194. The propensity of the HVAC System defect to create a noxious
 13   and foul moldy odor renders the Class Vehicles to not be of the quality that a buyer
 14   would reasonably expect, and therefore were not merchantable.
 15                 195. The Class Vehicles do not conform to the promises or
 16   affirmations of fact made by Mercedes in its promotional materials and vehicle
 17   owner manuals in that the HVAC System Defect creates an environment in the
 18   Class Vehicles’ cabin that is neither “comfortable” nor the product of “state-of-the-
 19   art engineering.”
 20                 196. In violation of Civil Code § 1791.1(a), Mercedes breached its
 21   Implied Warranty by selling Class Vehicles that were defective and refusing to
 22   replace and/or repair the defective HVAC Systems which cannot be repaired by
 23   replacing the cabin air filter.
 24                 197. The HVAC System defect has deprived Plaintiffs and the
 25   California Class of the benefit of their bargain, and have caused the Class Vehicles
 26   to depreciate in value.
 27
 28

      1274226.8                              - 51 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 52 of 68 Page ID #:52



  1                198. As a result of Mercedes’s breach of its Implied Warranties,
  2   Plaintiffs and the California Class members have been damaged in an amount to be
  3   proven at trial and are entitled to relief under the statute.
  4                                 FOURTH CAUSE OF ACTION
  5
                    (Breach of Express Warranty – Magnuson-Moss Warranty Act)
  6
  7                199. Plaintiffs incorporate by reference each allegation set forth in
  8   the preceding paragraphs.
  9                200. The Class Vehicles are consumer product as defined in 15
 10   U.S.C. § 2301(1).
 11                201. Plaintiffs and Class Members are consumers as defined in 15
 12   U.S.C. § 2301(3).
 13                202. Mercedes is a supplier and warrantor as defined in 15 U.S.C. §
 14   2301(4) and (5).
 15                203. Mercedes provided Plaintiffs and Class Members with “written
 16   warranties” within the meaning of 15 U.S.C. § 2301(6).
 17                204. Mercedes has breached the Express Warranty by refusing to
 18   honor the express warranty to replace or repair, free of charge, any defective
 19   vehicle component, including defects within the climate control system, which
 20   contains the HVAC System.
 21                205. At the time Class Vehicles were sold, Mercedes knew of the
 22   defects they possessed and offered an Express Warranty with no intention of
 23   honoring said warranty with respect to the known defects.
 24                206. Additionally, pursuant to 15 U.S.C. § 2304(d)(1), “the warrantor
 25   may not assess the consumer for any costs the warrantor or his representatives incur
 26   in connection with the required remedy of a warranted product . . . [I]f any
 27   incidental expenses are incurred because the remedy is not made within a
 28   reasonable time or because the warrantor imposed an unreasonable duty upon the

      1274226.8                                 - 52 -                CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 53 of 68 Page ID #:53



  1   consumer as a condition of securing remedy, then the consumer shall be entitled to
  2   recover reasonable incidental expenses which are so incurred in any action against
  3   the warrantor.”
  4                207. At no time has Mercedes offered a permanent or adequate repair
  5   or replacement of the HVAC System that would permanently prevent the moldy
  6   odor. Despite repeated demands by Plaintiffs, and members of the Class, that
  7   Mercedes pay the labor costs and incidental expenses associated with repairing or
  8   replacing the HVAC System, and with replacing the cabin air filter—a temporary
  9   solution--Mercedes has refused to do so. Mercedes’s refusal to provide an adequate
 10   repair or replacement and to pay for its installation violates 15 U.S.C. § 2304(d)(1).
 11                208. Mercedes was afforded a reasonable opportunity to cure its
 12   breach of the Express Warranty, but failed to do so.
 13                209. Under 15 U.S.C. § 2310(e), notice of breach of warranty need
 14   not be provided until after Plaintiffs have been appointed Class Representatives.
 15                210. As a direct and proximate result of Mercedes’s breach of its
 16   express written warranties, Plaintiffs and the members of the Class have been
 17   damaged in an amount to be proven at trial.
 18                               FIFTH CAUSE OF ACTION
 19                               (Breach of Implied Warranty)
 20                211. Plaintiffs incorporate by reference each allegation set forth in
 21   the preceding paragraphs.
 22                212. When it sold its Class Vehicles, Mercedes extended an implied
 23   warranty to the members of the Class that the subject vehicles were merchantable
 24   and fit for the ordinary purpose for which such goods were sold. Persons who
 25   purchased a vehicle from Mercedes are entitled to the benefit of their bargain: a
 26   vehicle with a nondefective HVAC system that does not emit moldy air.
 27                213. Mercedes breached this implied warranty in that its Class
 28   Vehicles are (1) not fit for ordinary use, and (2) not of a merchantable quality.

      1274226.8                               - 53 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 54 of 68 Page ID #:54



  1                 214. Had the HVAC System Defect that existed at the time of sale
  2   been known, the Class Vehicles could not have been sold, or could not have been
  3   sold at the same price.
  4                 215. As a direct and proximate result of Mercedes’s breach of the
  5   implied warranty of merchantability, Plaintiffs and the members of the Class have
  6   been damaged in an amount to be proven at trial.
  7                               SIXTH CAUSE OF ACTION
  8               (Breach of Implied Warranty – Magnuson-Moss Warranty Act)
  9                 216. Plaintiffs incorporate by reference each allegation set forth in
 10   the preceding paragraphs.
 11                 217. Plaintiffs and the members of the Class are consumers as
 12   defined in 15 U.S.C. § 2301(3).
 13                 218. Defendant Mercedes is a supplier and warrantor as defined in 15
 14   U.S.C. § 2301(4) and (5).
 15                 219. Defendant Mercedes is a supplier and warrantor as defined in 15
 16   U.S.C. § 2301(4) and (5).
 17                 220. The subject Class Vehicles are consumer products as defined in
 18   15 U.S.C. § 2301(1).
 19                 221. Mercedes extended an implied warranty to Plaintiffs and the
 20   members of the Class by operation of 15 U.S.C. § 2301(7), and this implied
 21   warranty covers defects in its Class Vehicles and its Class Vehicles’ HVAC
 22   Systems.
 23                 222. Mercedes breached this implied warranty by selling its Class
 24   Vehicles with Defective HVAC Systems that were neither merchantable nor fit for
 25   their intended purpose.
 26                 223. Mercedes extended an implied warranty to Plaintiffs and the
 27   members of the Class by operation of 15 U.S.C. § 2301(7), and this implied
 28   warranty covers defects in the subject Class Vehicles’ HVAC Systems.

      1274226.8                               - 54 -              CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 55 of 68 Page ID #:55



  1                224. Mercedes breached this implied warranty by selling Class
  2   Vehicles that were neither merchantable nor fit for their intended purpose.
  3                225. Under 15 U.S.C. § 2310(e), notice of breach of warranty need
  4   not be provided until after Plaintiff have been appointed Class Representatives.
  5                226. Mercedes was notified of its breach of warranty by way of
  6   Plaintiffs’ August 17, 2015, letter. A true and correct copy of the letter sent to
  7   Mercedes is attached as Exhibit D.
  8                227. As a direct and proximate result of Mercedes’s breach of the
  9   implied warranty under the Magnuson-Moss Act, Plaintiffs, and the Class, have
 10   been damaged in an amount to be proven at trial.
 11
 12                            SEVENTH CAUSE OF ACTION
 13     (Violations of Georgia Fair Business Practices Act (“Georgia FBPA”), Ga. Code.
                                    Ann. § 10-1-390, et seq.)
 14
 15                228. Plaintiffs incorporate by reference each allegation set forth in
 16   the preceding paragraphs.
 17                229. Plaintiffs Sunil Amin and Trushar Patel bring this cause of
 18   action for themselves and on behalf of the Georgia Class.
 19                230. Mercedes is a “person” as defined by the Georgia FBPA. § 10-
 20   1-392(a)(24).
 21                231. Plaintiffs and the Georgia Class are “consumers” within the
 22   meaning of the Georgia FBPA O.C.G.A § 10-1-392(a)(6).
 23                232. The purchase or lease of Class Vehicles by Plaintiffs and the
 24   Georgia Class constituted “consumer transactions” as defined by the Georgia FBPA
 25   § 10-1-392(a)(10).
 26                233. The Georgia FBPA declares “[u]nfair or deceptive acts or
 27   practices in the conduct of consumer transactions and consumer acts or practices in
 28   trade or commerce” to be unlawful, Ga. Code. Ann. § 10-1-393(a), including but

      1274226.8                                - 55 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 56 of 68 Page ID #:56



  1   not limited to “representing that goods or services have sponsorship, approval,
  2   characteristics, ingredients, uses, or benefits that they do not have,” “[r]epresenting
  3   that goods or services are of a particular standard, quality, or grade … if they are of
  4   another,” and “[a]dvertising goods or services with intent not to sell them as
  5   advertised,” Ga. Code. Ann. § 10-1-393(b)(5), (7) & (9).
  6                234. By failing to disclose the defective nature of the Class Vehicles
  7   to Plaintiffs and the Georgia Class, Mercedes violated the Georgia FBPA, because
  8   Mercedes represented that the Class Vehicles had characteristics and benefits that
  9   they do not have, and represented that the Class Vehicles were of a particular
 10   standard, quality, or grade (i.e. state-of-the-art, comfortable, etc.) when they were
 11   of another. See Ga. Code. Ann. § 10-1-393(b)(5) & (7).
 12                235. Mercedes advertised the Class Vehicles (as state-of-the-art,
 13   comfortable, etc.) with the intent not to sell them as advertised, in violation of Ga.
 14   Code. Ann. § 10-1-393(b)(9).
 15                236. Mercedes’s unfair and deceptive acts or practices occurred
 16   repeatedly in Mercedes’s course of trade or business, were material, were capable
 17   of deceiving a substantial portion of the purchasing public, and as a result, caused
 18   economic harm on owners and purchasers of the Class Vehicles.
 19                237. Mercedes knew, by 2008 at the latest, and certainly before the
 20   sale or lease of the Class Vehicles, that the Class Vehicles’ HVAC Systems
 21   suffered from an inherent defect, were defectively designed or manufactured, would
 22   exhibit problems such as mold growth and the emission of foul and noxious odors,
 23   and were not suitable for their intended use.
 24                238. By 2008 at the latest, Mercedes had exclusive knowledge of
 25   material facts concerning the existence of the HVAC System Defects in its Class
 26   Vehicles. Furthermore, Mercedes actively concealed these defects from consumers
 27   by denying the existence of the defects to Class Members who contacted Mercedes
 28

      1274226.8                               - 56 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 57 of 68 Page ID #:57



  1   about the moldy smell, failing to issue a service advisory and/or recall and failing to
  2   offer Class members a permanent solution to the HVAC System Defect.
  3                239. Mercedes was under a duty to Plaintiffs and Class Members to
  4   disclose the defective nature of the HVAC Systems, as well as the associated costs
  5   that would have to be repeatedly expended in order to repair the Class Vehicles due
  6   to the HVAC System Defect, because:
  7                a.     Mercedes was in a superior position to know the true state of
  8   facts about the HVAC System Defect in the Class Vehicles;
  9                b.     Plaintiffs and the Georgia Class could not reasonably have been
 10   expected to learn or discover that the Class Vehicles had the HVAC System Defect
 11   until, at the earliest, the manifestation of the Defect; and
 12                c.     Mercedes knew that Plaintiffs and the Georgia Class could not
 13   reasonably have been expected to learn or discover the HVAC System Defect prior
 14   to its manifestation.
 15                240. Mercedes knew or should have known that its conduct violated
 16   the Georgia FBPA.
 17                241. In failing to disclose the defective nature of the Class Vehicles,
 18   and/or denying and misleading as to the true cause and remedy of the noxious foul
 19   odor, Mercedes knowingly and intentionally concealed material facts and breached
 20   its duty not to do so.
 21                242. The facts concealed or not disclosed by Mercedes to Plaintiffs
 22   and the Georgia Class are material in that a reasonable consumer would have
 23   considered them to be important in deciding whether or not to purchase or lease a
 24   Class Vehicle. Moreover, a reasonable consumer would consider the HVAC
 25   System Defect to be an undesirable quality, as Plaintiffs and the Georgia Class did.
 26   Had Plaintiffs and other Georgia Class members known that the Class Vehicles had
 27   the HVAC System Defect, they would not have purchased or leased a Class
 28   Vehicle, or would not have done so at the price paid.

      1274226.8                                - 57 -                CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 58 of 68 Page ID #:58



  1                243. Plaintiffs and Georgia Class are reasonable consumers who did
  2   not expect their Class Vehicles to experience a HVAC System Defect. It is a
  3   reasonable and objective consumer expectation for consumers to expect the HVAC
  4   System not to cause the growth of mold and mildew within the System or emit
  5   moldy and noxious odors through the HVAC System vents.
  6                244. As a result of Mercedes’s misconduct, Plaintiffs and the Georgia
  7   Class have been harmed and have suffered actual damages in that the Class
  8   Vehicles repeatedly manifest mold growth and emit foul smells due to the HVAC
  9   System Defect, causing inconvenience, creating an uncomfortable environment for
 10   vehicle occupants, and causing Plaintiffs and the Georgia Class to spend money to
 11   repeatedly repair or temporarily fix the recurring odors caused by the Defect.
 12                245. As a direct and proximate result of Mercedes’s unfair or
 13   deceptive acts or practices, Plaintiffs and the Georgia Class have suffered and will
 14   continue to suffer actual damages in that they have experienced and may continue
 15   to experience their Class Vehicles’ HVAC Systems growing mold and emitting
 16   noxious odors, for which there is no permanent fix.
 17                246. Mercedes’s violations present a continuing risk to Plaintiffs and
 18   to the general public. Mercedes’ unlawful acts and practices complained of herein
 19   affect the public interest.
 20                247. Plaintiffs and the Georgia Class are entitled to equitable relief.
 21                248. Mercedes has received proper notice of its alleged violations of
 22   the FBPA pursuant to Ga. Code. Ann. § 10-1-399(b), via a letter sent to Mercedes
 23   and its registered service agent on January 29, 2016. The notice letter is attached
 24   hereto as Exhibit C. Mercedes responded through counsel denying the existence of
 25   a defect, alleging the problem to be a “maintenance” issue, implying, presumably,
 26   that Plaintiffs and Class Members who have experienced these symptoms have all
 27   failed to properly maintain their vehicles, and offering Mr. Amin a small amount to
 28   resolve his claim alone.

      1274226.8                               - 58 -              CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 59 of 68 Page ID #:59



  1                 249. Thus, pursuant to Ga. Code. Ann. § 10-1-399, Plaintiffs seek, in
  2   addition to equitable relief, actual, statutory, attorneys’ fees and expenses, treble
  3   damages, and punitive damages as permitted under the Georgia FBPA (Ga. Code.
  4   Ann. § 10-1-390, et seq.) and applicable law.
  5                             EIGHTH CAUSE OF ACTION
  6         (Violations of Georgia’s Uniform Deceptive Trade Practices Act (“Georgia
                          UDTPA”), Ga. Code. Ann. § 10-1-370, et seq.)
  7
  8                 250. Plaintiffs incorporate by reference each allegation set forth in
  9   the preceding paragraphs.
 10                 251. Plaintiffs Sunil Amin and Trushar Patel bring this cause of
 11   action for themselves and on behalf of the Georgia Class.
 12                 252. Mercedes, Plaintiffs, and the Georgia Class are “persons” within
 13   the meaning of the Georgia UDTPA. § 10-1-371(5).
 14                 253. The Georgia UDTPA prohibits “deceptive trade practices”
 15   which include the “misrepresentation of standard, quality, or grade of goods and
 16   services,” “engaging in any other conduct which similar creates a likelihood of
 17   confusion or misunderstanding,” and “representing that goods or services have
 18   sponsorship, approval, characteristics, ingredients, uses, or benefits that they do not
 19   have,” and “[a]dvertising goods or services with intent not to sell them as
 20   advertised,” Ga. Code. Ann. § 10-1-372.
 21                 254. By failing to disclose the defective nature of the Class Vehicles
 22   to Plaintiffs and the Georgia Class, Mercedes engaged in deceptive trade practices
 23   in violation of the Georgia UDTPA, because Mercedes represented that the Class
 24   Vehicles had characteristics and benefits that they do not have, and represented that
 25   the Class Vehicles were of a particular standard, quality, or grade (i.e. state-of-the-
 26   art, comfortable, etc.) when they were of another. See Ga. Code. Ann. § 10-1-
 27   372(5), (7), (9).
 28

      1274226.8                                - 59 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 60 of 68 Page ID #:60



  1                255. Mercedes advertised the Class Vehicles (as state-of-the-art,
  2   comfortable, etc.) with the intent not to sell them as advertised, in violation of Ga.
  3   Code. Ann. § 10-1-372(12).
  4                256. Mercedes’s unfair and deceptive acts or practices occurred
  5   repeatedly in Mercedes’s course of trade or business, were material, were capable
  6   of deceiving a substantial portion of the purchasing public, and as a result, caused
  7   economic harm on owners and purchasers of the Class Vehicles.
  8                257. Mercedes knew, by 2008 at the latest, and certainly before the
  9   sale or lease of the Class Vehicles, that the Class Vehicles’ HVAC Systems
 10   suffered from an inherent defect, were defectively designed or manufactured, would
 11   exhibit problems such as mold growth and the emission of foul and noxious odors,
 12   and were not suitable for their intended use.
 13                258. By 2008 at the latest, Mercedes had exclusive knowledge of
 14   material facts concerning the existence of the HVAC System Defects in its Class
 15   Vehicles. Furthermore, Mercedes actively concealed these defects from consumers
 16   by denying the existence of the defects to the Georgia Class who contacted
 17   Mercedes about the moldy smell, failing to issue a service advisory and/or recall
 18   and failing to offer Class members a permanent solution to the HVAC System
 19   Defect.
 20                259. Mercedes was under a duty to Plaintiffs and the Georgia Class to
 21   disclose the defective nature of the HVAC Systems, as well as the associated costs
 22   that would have to be repeatedly expended in order to repair the Class Vehicles due
 23   to the HVAC System Defect, because:
 24                a.     Mercedes was in a superior position to know the true state of
 25   facts about the HVAC System Defect in the Class Vehicles;
 26                b.     Plaintiffs and the Georgia Class could not reasonably have been
 27   expected to learn or discover that the Class Vehicles had the HVAC System Defect
 28   until, at the earliest, the manifestation of the Defect; and

      1274226.8                                - 60 -                CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 61 of 68 Page ID #:61



  1                c.     Mercedes knew that Plaintiffs and the Georgia Class could not
  2   reasonably have been expected to learn or discover the HVAC System Defect prior
  3   to its manifestation.
  4                260. Despite possessing information to the contrary, Mercedes failed
  5   to disclose and actively concealed the defect while continuing to market the Class
  6   Vehicles as comfortable, world-class, and reliable. The deception made reasonable
  7   consumers believe that Class Vehicles were of high quality and designed and made
  8   by a manufacturer that stood behind its vehicles once they were on the road.
  9                261. Mercedes knew or should have known that its conduct violated
 10   the Georgia UDTPA.
 11                262. In failing to disclose the defective nature of the Class Vehicles,
 12   and/or denying and misleading as to the true cause and remedy of the noxious foul
 13   odor, Mercedes knowingly and intentionally concealed material facts and breached
 14   its duty not to do so.
 15                263. The facts concealed or not disclosed by Mercedes to Plaintiffs
 16   and the Georgia Class are material in that a reasonable consumer would have
 17   considered them to be important in deciding whether or not to purchase or lease a
 18   Class Vehicle. Moreover, a reasonable consumer would consider the HVAC
 19   System Defect to be an undesirable quality, as Plaintiffs and Class Members did.
 20   Had Plaintiffs and the Georgia Class known that the Class Vehicles had the HVAC
 21   System Defect, they would not have purchased or leased a Class Vehicle, not
 22   purchased a Mercedes vehicle, or would not have done so at the price paid.
 23                264. Plaintiffs and the Georgia Class are reasonable consumers who
 24   did not expect their Class Vehicles to experience a HVAC System Defect. It is a
 25   reasonable and objective consumer expectation for consumers to expect the HVAC
 26   System not to cause the growth of mold and mildew within the System or emit
 27   moldy and noxious odors through the HVAC System vents.
 28

      1274226.8                              - 61 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 62 of 68 Page ID #:62



  1                265. As a result of Mercedes’s misconduct, Plaintiffs and the Georgia
  2   Class have been harmed and have suffered actual damages in that the Class
  3   Vehicles repeatedly manifest mold growth and emit foul smells due to the HVAC
  4   System Defect, causing inconvenience, creating an uncomfortable environment for
  5   vehicle occupants, and causing Class Members to spend money to repeatedly repair
  6   or temporarily fix the recurring odors caused by the Defect.
  7                266. As a direct and proximate result of Mercedes’s unfair or
  8   deceptive acts or practices, Plaintiffs and the Georgia Class have suffered and will
  9   continue to suffer actual damages in that they have experienced and may continue
 10   to experience their Class Vehicles’ HVAC Systems growing mold and emitting
 11   noxious odors, for which there is no permanent fix.
 12                267. Mercedes’s violations present a continuing risk to Plaintiffs and
 13   to the general public. Mercedes’ unlawful acts and practices complained of herein
 14   affect the public interest.
 15                268. As a direct and proximate result of Mercedes’ violations of the
 16   Georgia UDTPA, Plaintiffs and the Georgia Class have suffered injury-in-fact
 17   and/or actual damage.
 18                269. Plaintiffs seek an order enjoining Mercedes’ unfair, unlawful,
 19   and/or deceptive practices, attorneys’ fees, and any other just and proper relief
 20   available under the Georgia UDTPA per Ga. Code. Ann. § 10-1-373, and applicable
 21   law.
 22                                 NINTH CAUSE OF ACTION
 23                      (Breach of Implied Warranty of Merchantability)
 24
                   270. Plaintiffs incorporate by reference each allegation set forth in
 25
      the preceding paragraphs.
 26
                   271. Plaintiffs bring this cause of action for themselves and on behalf
 27
      of Class Members who are Georgia residents (“Georgia Class”).
 28

      1274226.8                               - 62 -              CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 63 of 68 Page ID #:63



  1                272. Georgia law states that “[A] warranty that the goods shall be
  2   merchantable is implied in a contract for their sale if the seller is a merchant with
  3   respect to goods of that kind.” Ga. Code. Ann. § 11-2-314.
  4                273. Defendants are merchants with respect to the goods which they
  5   sold to Plaintiff and the Georgia Class. Specifically, Defendants are merchants of
  6   light-duty passenger vehicles.
  7                274. The goods which Defendants provided to Plaintiffs and the
  8   Georgia Class were unmerchantable at the time they were sold. Specifically, the
  9   Class Vehicles contained HVAC systems emitting foul odors rendering them not fit
 10   for ordinary use as automobiles, not able to pass without objection, not of fair
 11   average quality and did not confirm with promises and affirmations made.
 12                275. Defendants’ failure to provide vehicles was a breach of the
 13   implied warranty of merchantability, and Plaintiff and the other Class Members
 14   were damaged in an amount to be proven at trial.
 15                               TENTH CAUSE OF ACTION
 16                                    (Fraud by Concealment)
 17                276. Plaintiffs incorporate by reference each allegation set forth in
 18   the preceding paragraphs.
 19                277. Plaintiffs bring this cause of action for themselves and on behalf
 20   of Class Members.
 21                278. Mercedes concealed and suppressed material facts concerning
 22   the quality of the Class Vehicles.
 23                279. Mercedes concealed and suppressed material facts concerning
 24   the quality of the HVAC systems in the Class Vehicles.
 25                280. Mercedes concealed and suppressed material facts concerning
 26   the serious defects causing Class Vehicles to emit strong foul odors. Upon
 27   information and belief, the defect lies in the evaporator and evaporator box deep
 28   within the dashboards of the Class Vehicles. Mercedes knew that Plaintiffs and

      1274226.8                                - 63 -              CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 64 of 68 Page ID #:64



  1   Class Members would not be able to inspect or otherwise detect the defect prior to
  2   purchasing or leasing the vehicles. Mercedes furthered and relied upon this lack of
  3   disclosure to further promote payments of repairs and filters and in some cases
  4   accused Plaintiffs and Class Members of causing the problem or paying for filters –
  5   all the while concealing the true nature of cause and defect from Plaintiffs and
  6   Class Members. Mercedes further denied the very existence the defect and the
  7   propensity of foul odors when Plaintiffs and Class Members complained of the
  8   defect.
  9                281. Mercedes concealed and suppressed material facts that point to
 10   the nature of the defect being a faulty evaporator design, a $400 to $800 or more
 11   part requiring extensive labor and parts to replace and instead pushed “fixes”
 12   consisting of filter changes and cleanings which are temporary at best.
 13                282. Mercedes did so in order to boost confidence in its vehicles and
 14   falsely assure purchasers and lessees of Mercedes vehicles, that the Class Vehicles
 15   were world class, comfortable, warranted and reliable vehicles and concealed the
 16   information in order to prevent harm to Defendants’ and their products reputations
 17   in the marketplace and to prevent consumers from learning of the defective nature
 18   of the Class Vehicles prior to their purchase or lease. These false representations
 19   and omissions were material to consumers, both because they concerned the quality
 20   of the Class Vehicles and because the representations and omissions played a
 21   significant role in the decision to purchase or lease the Class Vehicles.
 22                283. Mercedes had a duty to disclose the defects in the Class
 23   Vehicles because they were known and/or accessible only to Mercedes; Mercedes
 24   had superior knowledge and access to the facts; and Mercedes knew the facts were
 25   not known to, or reasonably discoverable, by Plaintiffs and Class Members.
 26   Mercedes also had a duty to disclose because it made many general affirmative
 27   representations about the quality, warranty, and lack of defects the Class Vehicles
 28   as set forth above, which were misleading, deceptive, and/or incomplete without the

      1274226.8                               - 64 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 65 of 68 Page ID #:65



  1   disclosure of the additional facts set forth above regarding its actual quality,
  2   comfort, and usability. Even when faced with complaints regarding the defects,
  3   Mercedes misled and concealed the true cause of the symptoms complained of. As
  4   a result, Class Members were misled as to the true condition of the Class Vehicles
  5   once at purchase and again when the defect was complained of to Defendants. The
  6   omitted and concealed facts were material because they directly impact the value,
  7   appeal and usability of the Class Vehicles purchased or leased by Plaintiffs and
  8   Class Members. Whether a manufacturer’s products are as stated by the
  9   manufacturer, backed by the manufacturer, and usable for the purpose it was
 10   purchased, are material concerns to a consumer.
 11                284. Mercedes actively concealed and/or suppressed these material
 12   facts, in whole or in part, to protect its reputation, sustain its marketing strategy,
 13   avoid recalls that would hurt the brand’s image and cost money, and it did so at the
 14   expense of Plaintiffs and Class Members.
 15                285. On information and belief, Mercedes has still not made full and
 16   adequate disclosure and continues to defraud Plaintiffs and Class Members and
 17   conceal material information regarding defects that exist in Mercedes Vehicles.
 18                286. Plaintiffs and Class Members were unaware of these omitted
 19   material facts and would not have acted as they did if they had known of the
 20   concealed and/or suppressed facts, in that they would not have purchased or leased
 21   cars manufactured by Mercedes or chosen different models not known to exhibit
 22   foul odors. Plaintiffs’ and Class Members’ actions were justified. Mercedes was in
 23   exclusive control of the material facts and such facts were not known to the public,
 24   Plaintiffs, or Class Members.
 25                287. Because of the concealment and/or suppression of the facts,
 26   Plaintiffs and Class Members sustained damage because they negotiated and paid
 27   value for the Class vehicles not considerate of the defects Mercedes failed to
 28   disclose and paid for repairs and parts to attempt to remedy the defect. Had they

      1274226.8                                - 65 -                CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 66 of 68 Page ID #:66



  1   been aware of the many concealed defects that existed in the Class Vehicles,
  2   Plaintiffs would have paid less for their vehicles or would not have purchased or
  3   leased them at all.
  4                288. Accordingly, Mercedes is liable to Plaintiffs and Class Members
  5   for damages in an amount to be proven at trial.
  6                289. Mercedes’ acts were done maliciously, oppressively,
  7   deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and
  8   Class Members’ rights and well-being to enrich Mercedes. Mercedes’ conduct
  9   warrants an assessment of punitive damages in an amount sufficient to deter such
 10   conduct in the future, which amount is to be determined according to proof.
 11                           ELEVENTH CAUSE OF ACTION
 12                                    (Unjust Enrichment)
 13                290. Plaintiffs incorporate by reference each allegation set forth in
 14   the preceding paragraphs.
 15                291. Mercedes has been unjustly enriched by the purchases of the
 16   Class Vehicles by the Plaintiffs and other members of the Class through Plaintiffs
 17   and Class member purchasing Class vehicles from Mercedes and purchasing
 18   replacement parts from Mercedes that Plaintiffs and Class Members would not have
 19   purchased but for the HVAC System defect.
 20                292. Plaintiffs and other members of the Class unknowingly
 21   conferred a benefit on Mercedes of which Mercedes had knowledge, since
 22   Mercedes was aware of the defective nature of its Class Vehicles’ HVAC Systems
 23   and the resultant moldy odor problems, but failed to disclose this knowledge and
 24   misled Plaintiffs and the other members of the Class regarding the nature and
 25   quality of the subject Class Vehicles while profiting from this deception.
 26                293. The circumstances are such that it would be inequitable,
 27   unconscionable, and unjust to permit Mercedes to retain the benefit of profits that it
 28   unfairly obtained from Plaintiffs and the other members of the Class. These profits

      1274226.8                               - 66 -               CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 67 of 68 Page ID #:67



  1   include the premium price Plaintiffs and the Class paid for the Class Vehicles and
  2   the cost of the parts bought from Mercedes used to repair or alleviate the moldy
  3   odor emitted by the HVAC system.
  4                294. Plaintiffs and the other members of the Class, having been
  5   damaged by Mercedes’s conduct, are entitled to recover or recoup damages as a
  6   result of the unjust enrichment of Mercedes to their detriment.
  7                                20.RELIEF REQUESTED
  8                295. Plaintiffs, on behalf of themselves, and all others similarly
  9   situated, request the Court to enter judgment against Mercedes, as follows:
 10                a.     an order certifying the proposed Classes, designating Plaintiffs
 11   as named representatives of their respective Classes, and designating the
 12   undersigned as Class Counsel;
 13                b.     a declaration that the HVAC Systems in Class Vehicles are
 14   defective;
 15                c.     a declaration that Mercedes is financially responsible for
 16   notifying all Class Members about the defective nature of the Class Vehicles;
 17                d.     an order enjoining Mercedes from further deceptive distribution,
 18   sales, and lease practices with respect to the Class Vehicles, and to permanently
 19   repair the Class Vehicles so that they no longer possess the HVAC System Defect;
 20                e.     an award to Plaintiffs and Class Members of compensatory,
 21   exemplary, and statutory damages, including interest, in an amount to be proven at
 22   trial;
 23                f.     a declaration that Mercedes must disgorge, for the benefit of
 24   Plaintiffs and Class Members, all or part of the ill-gotten profits it received from the
 25   sale or lease of the Class Vehicles, or make full restitution to Plaintiffs and Class
 26   Members;
 27                g.     an award of attorneys’ fees and costs, as allowed by law;
 28

      1274226.8                               - 67 -                CLASS ACTION COMPLAINT
Case 2:16-cv-03171-TJH-RAO Document 1 Filed 05/09/16 Page 68 of 68 Page ID #:68



  1                h.     an award of pre-judgment and post-judgment interest, as
  2   provided by law;
  3                i.     leave to amend this Complaint to conform to the evidence
  4   produced at trial; and
  5                j.     such other relief as may be appropriate under the circumstances.
  6                            21.DEMAND FOR JURY TRIAL
  7                296. Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs
  8   demands a trial by jury of any and all issues in this action so triable of right.
  9   Dated: May 9, 2016                     Respectfully submitted,
 10
 11
 12                                          By:
                                                    Jonathan D. Selbin
 13
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 28

      1274226.8                                - 68 -               CLASS ACTION COMPLAINT
